Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 1 of 97




                    EXHIBIT A
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                         Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 5 of 97
      Court of Common Pleas of Philadelphia County                                               For Prothonotary Use Only (Docket Number)
                    Trial Division
                   Civil Cover Sheet                                        E-Filing Number:   2108000436
PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
 MARY LIVINGSTON                                                              WELLS FARGO & COMPANY

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
 217 CHARLES DRIVE                                                            123 S. BROAD STREET FIRST FLOOR
 NEWTOWN SQUARE PA 19073                                                      PHILADELPHIA PA 19109


PLAINTIFF'S NAME                                                            DEFENDANT'S NAME




PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS




PLAINTIFF'S NAME                                                            DEFENDANT'S NAME




PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS




TOTAL NUMBER OF PLAINTIFFS         TOTAL NUMBER OF DEFENDANTS        COMMENCEMENT OF ACTION
                                                                       X Complaint                  Petition Action                     Notice of Appeal
               1                                     1
                                                                          Writ of Summons           Transfer From Other Jurisdictions
AMOUNT IN CONTROVERSY          COURT PROGRAMS

                                 Arbitration                     Mass Tort                           Commerce                        Settlement
    $50,000.00 or less         X Jury                            Savings Action                      Minor Court Appeal              Minors
 X More than $50,000.00          Non-Jury                        Petition                            Statutory Appeals               W/D/Survival
                                 Other:
CASE TYPE AND CODE

  1O - CONTRACTS OTHER

STATUTORY BASIS FOR CAUSE OF ACTION




RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                                        IS CASE SUBJECT TO
                                                                                                                      COORDINATION ORDER?
                                                                                                                                  YES         NO


                                                                   AUG 02 2021
                                                                          S. RICE

TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: MARY LIVINGSTON
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATTORNEY                      ADDRESS

 VINCENT VANLAAR                                                             BOCHETTO & LENTZ, P.C.
                                                                             1524 LOCUST STREET
PHONE NUMBER                            FAX NUMBER                           PHILADELPHIA PA 19102
 (215)735-3900                          (215)735-2455

SUPREME COURT IDENTIFICATION NO.                                           E-MAIL ADDRESS

 85672                                                                       vvanlaar@bochettoandlentz.com

SIGNATURE OF FILING ATTORNEY OR PARTY                                      DATE SUBMITTED
 VINCENT VANLAAR                                                             Monday, August 02, 2021, 09:46 am

                                                  FINAL COPY (Approved by the Prothonotary Clerk)
            Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 6 of 97




BOCHETTO & LENTZ, P.C.                                                                                 Attorneys
                                                                                                           Filed for
                                                                                                                  andPlaintiff
                                                                                                                       Attested by the
By:     Gavin P. Lentz, Esquire                                                                            Office of Judicial Records
        Vincent van Laar, Esquire                                                                              02 AUG 2021 09:46 am
        Matthew L. Minsky, Esquire                                                                                    S. RICE
Identification Nos.: 53609, 85672, 329262
1524 Locust Street
Philadelphia, PA 19102
(215)735-3900
(215) 735-2455 fax
glentz@bochettoandlentz.com
vvanlaar@bochettoandlentz.com
mminsky@bochettoandlentz.com

MARY LINDA LIVINGSTON                                                               :            COURT OF COMMON PLEAS
217 Charles Ellis Drive                                                             :            PHILADELPHIA COUNTY,
Newtown Square, PA 19073                                                            :            PENNSYLVANIA
                                                                                    :
                                             Plaintiff                              :            _____________ TERM, 2021
                                                                                    :
           v.                                                                       :            NO:
                                                                                    :
WELLS FARGO & COMPANY                                                               :            JURY TRIAL DEMANDED
123 S. Broad Street, 1st Floor                                                      :
Philadelphia, PA 19109                                                              :
                                                                                    :
                                             Defendant                              :
                                                                                    :

                                                     NOTICE TO DEFEND

                              NOTICE                                                                      AVISO

You have been sued in court. If you wish to defend against the claims     Le han demandado a usted en la corte. Si usted quiere defenderse de
set forth in the following pages, you must take action within twenty      estas demandas expuestas en las paginas siguientes, usted tiene veinte
(20) days after this complaint and notice are served, by entering a       (20) dias de plazo al partir de la fecha de la demanda y la notificacion.
written appearance personally or by attorney and filing in writing with   Hace falta ascentar una comparencia escrita o en persona o con un
the court your defenses or objections to the claims set forth against     abogado y entregar a la corte en forma escrita sus defensas o sus
you. You are warned that if you fail to do so the case may proceed        objeciones a las demandas en contra de su persona. Sea avisado que si
without you and a judgment may be entered against you by the court        usted no se defiende, la corte tomara medidas y puede continuar la
without further notice for any money claimed in the complaint of for      demanda en contra suya sin previo aviso o notificacion. Ademas, la
any other claim or relief requested by the plaintiff. You may lose        corte puede decider a favor del demandante y requiere que usted
money or property or other rights important to you.                       cumpla con todas las provisiones de esta demanda. Usted puede perder
                                                                          dinero o sus propiedades u otros derechos importantes para usted.


You should take this paper to your lawyer at once. If you do not have     Lleve esta demanda a un abogado immediatamente. Si no tiene
a lawyer or cannot afford one, go to or telephone the office set forth    abogado o si no tiene el dinero suficiente de pagar tal servicio. Vaya
below to find out where you can get legal help.                           en persona o llame por telefono a la oficina cuya direccion se
                                                                          encuentra escrita abajo para averiguar donde se puede conseguir
Philadelphia Bar Association Lawyer Referral and Information              asistencia legal.
Service One Reading Center Philadelphia, Pennsylvania 19107
              (215) 238-6333 TTY (215) 451-6197                            Asociacion De Licenciados De Filadelfia Servicio De Referencia
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                                                                              Pennsylvania 19107 (215) 238-6333 TTY (215) 451-6197




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        Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 7 of 97




BOCHETTO & LENTZ, P.C.                                           Attorneys for Plaintiff
By:     Gavin P. Lentz, Esquire
        Vincent van Laar, Esquire
        Matthew L. Minsky, Esquire
Identification Nos.: 53609, 85672, 329262
1524 Locust Street
Philadelphia, PA 19102
(215)735-3900
(215) 735-2455 fax
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vvanlaar@bochettoandlentz.com
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MARY LINDA LIVINGSTON                                   :       COURT OF COMMON PLEAS
217 Charles Ellis Drive                                 :       PHILADELPHIA COUNTY,
Newtown Square, PA 19073                                :       PENNSYLVANIA
                                                        :
                              Plaintiff                 :       _____________ TERM, 2021
                                                        :
       v.                                               :       NO:
                                                        :
WELLS FARGO & COMPANY                                   :       JURY TRIAL DEMANDED
123 S. Broad Street, 1st Floor                          :
Philadelphia, PA 19109                                  :
                                                        :
                              Defendant                 :
                                                        :

       AND NOW comes Plaintiff, Mary Linda Livingston (“Plaintiff” or “Ms. Livingston”), by

and through her undersigned counsel, Bochetto & Lentz, P.C. (“B&L”), and hereby avers as

follows in support of her Complaint against Defendant Wells Fargo & Company (“Defendant” or

“Wells Fargo”):

                                          INTRODUCTION

       This litigation involves Wells Fargo’s failure to protect its elderly and longtime customer,

Ms. Livingston from being defrauded out of her savings by a third party, resulting in a loss of

approximately four hundred and fifty thousand dollars ($450,000).




                                                                                           Case ID: 210800043
           Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 8 of 97




                                        THE PARTIES

       1.      Plaintiff, Mary Linda Livingston (“Ms. Livingston”) is an adult individual who

resides at 217 Charles Drive, Newtown Square, PA 19073 and who may be served at said

address.

       2.      Defendant, Wells Fargo & Company (“Wells Fargo”), is an American

multinational financial services company with a principal place of business located at 123 S.

Broad Street, 1st Floor, Philadelphia, Pennsylvania 19109. Defendant may be served at this

address.

                               JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over this matter pursuant to 42

Pa.C.S.A. § 931(a) and has personal jurisdiction pursuant to 42 Pa.C.S.A. § 5301, as more fully

set forth below.

       4.      Venue is proper in the Court of Common Pleas of Philadelphia County under

Rules 1006 and 2179 of the Pennsylvania Rules of Civil Procedure as Defendant conducts

substantial business in Philadelphia County.

                           FACTS COMMON TO ALL COUNTS

       5.      Plaintiff Ms. Livingston is an elderly lady and has been a long-time customer of

Wells Fargo.

       6.      Ms. Livingston has been a customer of Wells Fargo since its merger with

Wachovia and was a customer of Wachovia since its merger with First Union Corporation.

       7.      At all times material hereto, Ms. Livingston had three separate bank accounts, two

checking accounts and one savings account, with Wells Fargo.




                                               2
                                                                                        Case ID: 210800043
         Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 9 of 97




       8.      Wells Fargo has or should have at least over a decade worth of transaction data

for Ms. Livingston.

       9.      In or around August of 2020, Ms. Livingston sold her residence and proceeds

from the sale were deposited in one of her accounts at Wells Fargo.

       10.     On November 10, 2020, Ms. Livingston received an unsolicited e-mail that

purported to be a Microsoft’s Windows Defender Advanced Threat Protection.

       11.     The e-mail thanked Ms. Livingston for subscribing to their services and stated

that if she wanted to cancel her order, she should call the enclosed number within twenty-four

(24) hours.

       12.     Given that Ms. Livingston had never purchased such service, she called to cancel

and obtain a refund.

       13.     Unbeknownst to Ms. Livingston, she was falling prey to an elaborate fraud; a

scam that Wells Fargo should have swiftly prevented or recognized, given the duty it owes to its

customers, given its regulatory duties to detect and prevent financial crimes and given its ability

to protect the funds of its customers, including Ms. Livingston.

       14.     Shortly after receiving the fraudulent e-mail, Ms. Livingston contacted the

fraudster and requested that Microsoft refund her the approximately $290 that had allegedly been

charged to her account.

       15.     The fraudster then informed Ms. Livingston that Microsoft had inadvertently

refunded her account $2,900 and requested that she wire the excess funds back to the company.

       16.     The fraudster then told Ms. Livingston that her personal bank account and

Microsoft’s bank account had accidently been linked together.




                                                3
                                                                                          Case ID: 210800043
         Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 10 of 97




        17.      Concerned, Ms. Livingston inquired as to what she could do on her end to rectify

the situation.

        18.      The fraudster then told Ms. Livingston login into her online Wells Fargo account.

        19.      At that instant, the fraudster took full control of Ms. Livingston’s computer and

locked her screen so that she could not see what he was doing.

        20.      During this time, Ms. Livingston was still on the phone with the fraudster who

repeatedly assured her that everything was fine and that he would unlock her computer if she

complied with his demands.

        21.      Notably, while Ms. Livingston’s computer was locked, the fraudster attempted to

use the Zelle money-transfer feature embedded within her Wells Fargo online account to send

$500 to an unknown individual.

        22.      Wells Fargo should have immediately put a freeze on Ms. Livingston’s account

and further investigated the nature of these transactions, considering Ms. Livingston has never

used Zelle before.

        23.      Upon information and belief, and unbeknownst to her, Ms. Livingston’s password

to her Wells Fargo account was also changed at this time.

        24.      Ms. Livingston did not authorize any change of her password.

        25.      Again, Wells Fargo should have either further investigated the nature of these

transactions, immediately notify Ms. Livingston and/or locked her account.

        26.      At no point did Wells Fargo notify Ms. Livingston that her password was being

changed or that her account was being accessed online.




                                                 4
                                                                                          Case ID: 210800043
        Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 11 of 97




       27.      The fraudster then displayed to Ms. Livingston what she thought was her

checking account and proceeded to show Ms. Livingston that her checking account was

receiving funds that belonged to Microsoft.

       28.      The fraudster then demanded that Ms. Livingston immediately wire these funds

back to Microsoft and threatened to hold her computer and bank account ransom until she

complied with his requests.

       29.      Having obtained unauthorized access to Ms. Livingston’s online Wells Fargo

account, the fraudster then began transferring hundreds of thousands of dollars from Ms.

Livingston’s savings account to her checking account without her knowledge and without her

consent or permission.

       30.      While doing this, the fraudster told Ms. Livingston that the funds being deposited

into her checking account actually belonged to Microsoft.

       31.      The fraudster demanded that Ms. Livingston immediately wire these funds back

to Microsoft.

       32.      Flustered, and under duress, and trying to pay back the alleged money owed, Ms.

Livingston abided by his requests.

       33.      To comply with the requests, Ms. Livingston visited two different Wells Fargo

locations on approximately five (5) separate occasions (in a very short period of time) to wire

significant funds to the Bank of Bangkok, per the fraudster’s instruction.

       34.      Not once during Ms. Livingston’s first five trips to Wells Fargo to wire funds did

any representative or employee of Wells Fargo take an affirmative act to halt these wire transfers

or protect Ms. Livingston from the fraud.




                                                 5
                                                                                         Case ID: 210800043
        Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 12 of 97




       35.        Only after Ms. Livingston visited a Wells Fargo location for a sixth time was she

alerted by an employee of Wells Fargo of a possibly fraudulent scam.

       36.        While Ms. Livingston’s money was held with Wells Fargo, a third party was able

to gain unauthorized access to her Wells Fargo account, change her login information – without

notice to Ms. Livingston – transfer $450,000 from her savings account to her checking account

(in multiple large denominations) and gain access to these funds without any interference by

Wells Fargo, on five (5) separate occasions.

       37.        Extraordinarily, Wells Fargo failed to intervene to protect Ms. Livingston,

resulting in the unauthorized transfer of almost her entire savings account to the Bank of

Bangkok.

       38.        Moreover, Wells Fargo should have exercised increased levels of caution with

respect to Ms. Livingston’s bank accounts considering she recently deposited $683,622.62 into

her savings account following the sale of her home.

       39.        In complete disregard for the unusually high balance in Ms. Livingston’s savings

account, Wells Fargo breached its duty of care by allowing the proceeds of her home to be wired

to the Bank of Bangkok in approximately fifty-thousand-dollar ($50,000) increments, nine (9)

separate times.

       40.        Despite the extremely irregular transfers in a very short period of time, occurring

in Ms. Livingston’s Wells Fargo account and the unauthorized remote logins, Wells Fargo failed

to timely act, secure and protect Ms. Livingston’s money.

       41.        Importantly, pursuant to Wells Fargo’s Deposit Account Agreement, Wells Fargo

owed a contractual and fiduciary duty to Ms. Livingston.

       42.        Indeed, Wells Fargo has the capabilities to thwart the exact fraud that occurred.




                                                   6
                                                                                             Case ID: 210800043
         Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 13 of 97




        43.     The Deposit Account Agreement makes assurances to its patrons that Wells Fargo

will protect its customers from fraudulent actors “if [it] suspect[s] any suspicious, irregular,

unauthorized, fraudulent, or unlawful activities, [because it] can decline, prevent, or delay any or

all transactions to or from [a customer’s] account, freeze all or some of the funds in [a

customer’s] account and other accounts with [it] that [a customer] maintain[s] or control[s], and

otherwise restrict access to [a customer’s] account.” Wells Fargo further promises that it “may

take these actions in [its] sole discretion[.]”

        44.     The Deposit Account Agreement further assures its customers that Wells Fargo

“can terminate or suspend services (e.g., wire transfers) related to [a customer] account without

closing [the] account and without prior notice [to the customer].”

        45.     Clearly, Wells Fargo should have recognized that Ms. Livingston’s funds were

suspiciously being wired out of her savings account and then into her checking account and then

wired in $50,000 increments to the Bank of Bangkok.

        46.     These suspicious wire transfers happened nine (9) separate times without any

intervention from Wells Fargo.

        47.     Wells Fargo should have immediately terminated or suspended the numerous wire

transfers from Ms. Livingston’s account given the peculiar circumstances and the fact that Ms.

Livingston has never previously wired money, let alone, wired funds to a bank in Bangkok.

        48.     Despite Wells Fargo having years of transaction records for Ms. Livingston, it

still failed to identify and protect her from the fraud when it was clear that her bank accounts

showed extremely irregular banking activity.

        49.     Further, as detailed in the Deposit Account Agreement, Wells Fargo should have

used its technological capabilities to detect and block foreign unauthorized access to Ms.




                                                  7
                                                                                           Case ID: 210800043
        Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 14 of 97




Livingston’s bank account and it should have used these same capabilities to freeze all overseas

wire transfers.

       50.        Wells Fargo further breached the Deposit Account Agreement when it failed to

take proper action.

       51.        Wells Fargo was further negligent when it failed to immediately recall the wire

transfers when it eventually notified although belatedly Ms. Livingston of the fraud.

       52.        In that regard, on Tuesday, November 24, 2020, Wells Fargo alerted Ms.

Livingston that her account may have been subject to fraud and halted all outgoing wire transfers

from her account that were initiated that day.

       53.        Wells Fargo advised Ms. Livingston that they would immediately place a hold on

the wire transfers that day.

       54.        At that moment, Wells Fargo should have also immediately recalled all prior wire

transfers to the Bank of Bangkok.

       55.        Instead, Wells Fargo negligently waited at least several days to attempt to call

back the previous wire transfers from Ms. Livingston’s account.

       56.        The delay resulted in the failure to halt the last wire transfer.

       57.        Wells Fargo Wells Fargo was negligent as follows:

             a. failing to monitor Ms. Livingston’s Wells Fargo account for suspicious, irregular,

                  fraudulent, and/or unauthorized activity;

             b. failing to timely recognize that patently suspicious, irregular, fraudulent, and/or

                  unauthorized activity was occurring within Ms. Livingston’s account as detailed

                  herein;




                                                     8
                                                                                          Case ID: 210800043
        Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 15 of 97




             c. failing to protect Ms. Livingston’s funds by timely terminating or suspending wire

                transfers and/or freezing her account or taking any other reasonable step to halt

                the fraud that was plaguing Ms. Livingston’s Wells Fargo account;

             d. failing to reasonably investigate the reason why Ms. Livingston was wiring a

                significant portion of her savings to the Bank of Bangkok in multiple separate, but

                successive, transactions when she had never wired any amount in the past; and

             e. failing to reasonably investigate as to why a Zelle transfer was remotely initiated

                from Ms. Livingston’s account despite her never using Zelle before.

       58.      As a direct result of Wells Fargo’s breach of its duty of care and breach of the

Deposit Account Agreement, Ms. Livingston lost four hundred and fifty thousand dollars

($450,000), which should have been easily detected and prevented by Wells Fargo.

                                     COUNT I
                    NEGLIGENCE/ VOLUNTARY ASSUMPTION OF DUTY
                            LIVINGSTON v. WELLS FARGO

       59.      Plaintiff hereby incorporates by reference all prior paragraphs as if set forth fully

at length herein.

       60.      Wells Fargo, a depository institution, owed a duty to Ms. Livingston as a

depositor and longtime customer of its bank.

       61.      Wells Fargo, as a financial institution, owes its customers, including Ms.

Livingston, a duty and/or voluntarily assumed a duty to act with ordinary and reasonable care.

       62.      In modern-day banking, this includes reasonably protecting depositors from fraud.

       63.      In that regard, Wells Fargo undertook the duty to reasonably protect their

customers, including Ms. Livingston, from fraud; especially when the customer’s accounts are

displaying seriously irregular banking activity, including, but not limited to the wiring of




                                                  9
                                                                                            Case ID: 210800043
        Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 16 of 97




$50,000 to the Bank of Bangkok by a customer that has never engaged in numerous short term

wire transactions of significant amounts of money before.

       64.     The duty of care Wells Fargo owed to Ms. Livingston was breached when Wells

Fargo permitted remote access to Ms. Livingston’s online bank account(s) and allowed an

unauthorized change of Ms. Livingston’s online banking password.

       65.     This duty was further breached when Wells Fargo allowed unauthorized access

(on multiple occasions) to Ms. Livingston’s account which resulted in the unauthorized transfers

of hundreds of thousands of dollars from Ms. Livingston’s savings account to her checking

account. Ms. Livingston was never notified of these transfers in her account.

       66.     Wells Fargo further breached its duty to Ms. Livingston when it allowed Ms.

Livingston, a long-time and elderly customer of the bank, to wire a total of four hundred and

fifty thousand ($450,000) – in nine (9) separate wire transfers – to the Bank of Bangkok without

meaningfully investigating and/or questioning the validity of the wire transfers.

       67.     Wells Fargo was further negligent and thereby breached its duty of care to Ms.

Livingston by not promptly declining, preventing, suspending, freezing or delaying the

fraudulent and unauthorized transactions, once it became aware of the fraud.

       68.     Wells Fargo was further negligent and in breach of its duty of care to Plaintiff

when it failed to immediately recall the wire transfers when it finally became aware of the fraud.

       69.     Instead, Wells Fargo negligently waited at least several days to attempt to call

back the previous wire transfers from Ms. Livingston’s account.

       70.     The delay resulted in the failure to halt the wire transfer.




                                                 10
                                                                                          Case ID: 210800043
        Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 17 of 97




       71.     As a direct result of Wells Fargo’s negligence, Ms. Livingston suffered from

significant stresses and anxieties when it was discovered that approximately $450,000 was

transferred without her authorization from her bank accounts.

       72.     As a direct result of Defendant’s conduct, Plaintiff suffered emotional damages,

including sleep disturbances, stresses and anxieties.

       WHEREFORE, Plaintiff respectfully requests the Court to enter judgment against the

Defendant Wells Fargo in an amount well in excess of $50,000 that will fully and fairly

compensate Plaintiff, plus pre- and post-judgment interest, costs of suit and such further relief

deemed just and equitable by the Court.

                                         COUNT II
                                    BREACH OF CONTRACT
                                 LIVINGSTON v. WELLS FARGO

       73.     Plaintiff hereby incorporates by reference all prior paragraphs as if set forth fully

at length herein.

       74.     Pursuant to Wells Fargo’s Deposit Account Agreement, Wells Fargo also owed a

contractual duty to Ms. Livingston. See Deposit Account Agreement, attached as Exhibit “A.”

       75.          In the Deposit Account Agreement, Wells Fargo assures its customers that it has

the capabilities to thwart the exact fraud that has plagued Ms. Livingston.

       76.     Specifically, the Deposit Account Agreement makes assurances to its patrons that

Wells Fargo will protect its customers from fraudulent actors “if [it] suspect[s] any suspicious,

irregular, unauthorized, fraudulent, or unlawful activities, [because it] can decline, prevent, or

delay any or all transactions to or from [a customer’s] account, freeze all or some of the funds in

[a customer’s] account and other accounts with [it] that [a customer] maintain[s] or control[s],




                                                  11
                                                                                           Case ID: 210800043
        Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 18 of 97




and otherwise restrict access to [a customer’s] account.” Wells Fargo further promises that it

“may take these actions in [its] sole discretion[.]” Id.

       77.     The Deposit Account Agreement also assures its customers that Wells Fargo “can

terminate or suspend services (e.g., wire transfers) related to [a customer] account without

closing [the] account and without prior notice [to the customer].” Id.

       78.     Wells Fargo should have recognized that Ms. Livingston’s funds were

suspiciously being transferred from her savings account to her checking account, then being

wired out of her checking account in $50,000 increments to the Bank of Bangkok.

       79.     This happened in nine (9) successive wire transactions – that took place over

the course of multiple days – without any intervention from Wells Fargo.

       80.     Ms. Livingston had never wired money before this incident.

       81.     Wells Fargo therefore breached the Deposit Account Agreement.

       82.     Furthermore, Wells Fargo should have restricted access to Ms. Livingston’s

account once it was being accessed remotely by a fraudster and/or immediately upon the

fraudster suspiciously transferring funds from Ms. Livingston’s savings to her checking account.

       83.     Wells Fargo failed to take appropriate actions as set forth in the Deposit Account

Agreement.

       84.     As a direct and proximate result of Defendant’s breach, Ms. Livingston sustained

damages, resulting in a loss of $450,000.

       WHEREFORE, Plaintiff respectfully requests the Court to enter judgment against the

Defendant Wells Fargo in an amount well in excess of $50,000 that will fully and fairly

compensate Plaintiff, plus pre- and post-judgment interest, costs of suit, and such further relief

deemed just and equitable by the Court.




                                                  12
                                                                                         Case ID: 210800043
        Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 19 of 97




                              COUNT III
      VIOLATION OF THE PENNSYLVANIA UNFAIR TRADE PRACTICES AND
        CONSUMER PROTECTION LAW PURSUANT TO 73 PS § 201-3, et seq.
                      LIVINGSTON v. WELLS FARGO

       85.     Plaintiff hereby incorporates by reference all prior paragraphs as if set forth fully

at length herein.

       86.     The UTPCPL prohibits “unfair or deceptive acts or practices in the conduct of any

trade or commerce.” 73 P.S. § 201-3.

       87.     Pursuant to section 2 of the UTPCPL, “(xxi) Engaging in any [. . .] fraudulent or

deceptive conduct which creates a likelihood of confusion or of misunderstanding” constitutes an

unfair or deceptive act or practice. 73 P.S. § 201-2.

       88.     Furthermore, “[a]ny person who purchases or leases goods or services primarily

for personal, family or household purposes and thereby suffers any ascertainable loss of money

or property, real or personal, as a result of the use or employment by any person of a method, act

or practice declared unlawful [. . .] may bring a private action to recover actual damages.” 73

P.S. § 201-9.2, Part 1 of 2.

       89.     Wells Fargo has engaged in deceptive conduct when it represented that it will

protect its customers from fraud.

       90.     At all times material hereto, Ms. Livingston justifiably relied on Wells Fargo’s

representations that it will protect her accounts from irregular and suspicious activity or

fraudulent scams.

       91.     In that regard, Wells Fargo assures its depositors in a Deposit Account Agreement

that if “any suspicious, irregular, unauthorized, fraudulent, or unlawful activities [is suspected in

a customer’s account], [it] can decline, prevent, or delay any or all transactions to or from [the]

account, freeze all or some of the funds in [the] account and other accounts . . . that [a customer]



                                                 13
                                                                                            Case ID: 210800043
         Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 20 of 97




maintain[s] or control[s], and otherwise restrict access to [the] account.” Wells Fargo further

promises that it “may take these actions in [its] sole discretion[.]” See Deposit Account

Agreement, Exhibit “A.”

        92.     Ms. Livingston, an elderly customer of Wells Fargo, relied on these promises and

deposited significant funds into her Wells Fargo account, confident that if suspicious, irregular,

unauthorized, or fraudulent activity was occurring in her account, Wells Fargo would promptly

act to protect her funds.

        93.     As a result of Wells Fargo’s deceptive conduct and Ms. Livingston’s reliance on

that conduct, she has lost $450,000.

        94.     In addition to the Deposit Account Agreement, Wells Fargo further promises its

customers a “guarantee” that they will be “reimbursed for 100% of funds removed from [their]

Wells Fargo accounts . . .” if an unauthorized person fraudulently removes those funds through

Wells Fargo’s Online Services. See Online Security Guarantee, attached as Exhibit “B.”

        95.     Wells Fargo promises that so long as the customer (1) does not disclose their

personal account information to others, (2) reports any incidents of unauthorized access or fraud

to Wells Fargo within 60 days after receiving the impacted account statement, and (3) fully

cooperates with Wells Fargo employees during the claim process, they will be fully reimbursed

their lost funds.

        96.     Wells Fargo deceived Ms. Livingston by assuring her that they would reimburse

her for all losses caused by fraud stemming from her Wells Fargo online services.

        97.     Now that Ms. Livingston has lost $450,000 as a result of remote access to her

online services, Wells Fargo has refused to reimburse her for the loss as promised in the Online

Security Guarantee. Id.




                                               14
                                                                                         Case ID: 210800043
        Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 21 of 97




       98.     Wells Fargo’s representations to Ms. Livingston were false and she justifiably

relied on them to her detriment.

       99.     As a direct result of Defendant’s conduct, Ms. Livingston sustained damages of

$450,000.00.

       WHEREFORE, Plaintiff respectfully requests the Court to enter judgment against the

Defendant Wells Fargo in an amount well in excess of $50,000 that will fully and fairly

compensate Plaintiff, plus pre- and post-judgment interest, attorneys’ fees, treble damages, costs

of suit, and such further relief deemed just and equitable by the Court.

                                    JURY TRIAL DEMAND

       100.    Plaintiff hereby demands a jury trial of twelve (12) jurors.


                                                   BOCHETTO & LENTZ, P.C.

                                                          /s/ Vincent van Laar
Date: August 2, 2021                               By: ________________________
                                                          Gavin P. Lentz, Esquire
                                                          Vincent van Laar, Esquire
                                                          Matthew L. Minsky, Esquire
                                                          Attorneys for Plaintiff




                                                15
                                                                                         Case ID: 210800043
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 22 of 97




                                                              Case ID: 210800043
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 23 of 97




                  Exhibit “A”




                                                              Case ID: 210800043
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 24 of 97




      Effective November 9, 2020

      Deposit Account
      Agreement




      Important legal information,
      disclosures, and terms you need to
      know                           Case ID: 210800043
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 25 of 97




                                               Case ID: 210800043
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 26 of 97
    Table of contents
    Introduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1




                                                                                                                                                                           Introduction
      Words with specific meanings . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
    Resolving disputes through arbitration . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
      Consumer accounts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
      Business accounts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
    Important legal information . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
    Statements and other information relating to your deposit account . . . . . . . . . . . . . 10




                                                                                                                                                                       through arbitration
                                                                                                                                                                       Resolving disputes
    Rights and responsibilities. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
    Checking and savings accounts
      Deposits to your account . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
      Funds availability policy. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
      Available balance, posting order, and overdrafts. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 26
      Setoff and security interest. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 31




                                                                                                                                                                       Important legal
      Business account fees and expenses; earnings allowance . . . . . . . . . . . . . . . . . . . . . . . . . 32




                                                                                                                                                                         information
      Additional rules for checks and withdrawals. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 33
      Issuing stop payment orders and post-dated checks . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 35
      Your account ownership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 37
      Interest earning accounts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 40
      Time Accounts (CDs) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 42




                                                                                                                                                                       error notifications
    Electronic banking services




                                                                                                                                                                        Statements and
      Debit cards and ATM cards . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 43
      Electronic fund transfer services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 54
      General rules for electronic fund transfer services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 54
      Electronic fund transfer disclosures. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 57
      Phone Bank Services . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 60
      Funds transfer services . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 61

                                                                                                                                                                       responsibilities
                                                                                                                                                                         Rights and
                                                                                                                                                                       savings accounts
                                                                                                                                                                         Checking and
                                                                                                                                                                       banking services
                                                                                                                                                                          Electronic




                                                                                                                                    Case ID: 210800043
                                                                                                                                                                   i
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 27 of 97
       Introduction
       Welcome to Wells Fargo
       You have many choices when selecting a financial institution, and we are glad you chose
       Wells Fargo Bank, N.A. We value our relationship with you and hope we answered all
       your questions when you opened your account. Whether you are opening a new account
       or currently have a Consumer or Business deposit account, please review this account
       agreement for further details regarding your account and related services.
       What words do we use to refer to the customer, this account
       agreement, and Wells Fargo?
       •     The customer is the “account owner,” “you,” “your,” or “yours.”
       •     Wells Fargo Bank, N.A. is “Wells Fargo,” “the Bank,” “we,” “us,” or “our.”
       •     This account agreement and the disclosures listed below constitute the “Agreement”:
             - The Consumer Account Fee and Information Schedule (“Consumer Schedule”) or
                the Business Account Fee and Information Schedule (“Business Schedule”), which
                explain our fees and provide additional information about our accounts and services,
             - Our Privacy Policy,
             - Our rate sheet for interest-earning accounts, and
             - Any additional disclosures we provide to you about your account and related
                services, including any addenda to the Agreement or to the Consumer Schedule or
                Business Schedule, as applicable.

           Words with specific meanings
           Certain words have specific meanings as they are used throughout this Agreement.
           These words and their meanings are defined in this section.
           ACH transaction: An ACH transaction is a deposit or payment (withdrawal) presented
           through the Automated Clearing House (ACH) network, an electronic network for
           financial transactions in the United States.
           Authorized signer: An authorized signer is a person who has your actual or apparent
           authority to use your account even if they have not signed the account application.
           Available balance: Your account’s available balance is our most current record of the
           amount of money available for your use or withdrawal. For more information, please
           see the section entitled “How do we determine your account’s available balance?” in
           this Agreement.
           Business account: A business account is any deposit account, other than one of
           Wells Fargo’s commercial deposit accounts, which is not established and maintained
           for personal, family, or household purposes. A business account is typically owned by
           an individual acting as a sole proprietor, a partnership, a limited partnership, a limited
           liability partnership, a limited liability company, a corporation, a joint venture, a non-
           profit corporation, an employee benefit plan, or a governmental unit including an
           Indian tribal entity.
           Business day: Every day is a business day except Saturday, Sunday, and federal
           holidays.




                                                                                 Case ID: 210800043
   1   Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 28 of 97
    Introduction
        Card: This term includes every type of consumer and business debit and ATM card




                                                                                                           Introduction
        we may issue. For Wells Fargo Campus CardSM Program customers, this term also
        includes any card that your college or university may issue to you that can be linked
        for Wells Fargo banking functionality. This term does not include any prepaid cards or
        the business deposit card unless otherwise noted.
        Consumer account: A consumer account is any deposit account which is established
        and maintained for personal, family, or household purposes and is not intended for




                                                                                                        through arbitration
                                                                                                        Resolving disputes
        business use. A consumer account is typically owned by an individual, or jointly with
        other individuals.
        Item: An item is an order, instruction, or authorization to withdraw or pay funds or
        money from an account. Examples include a check, draft, and an electronic transaction
        (including ACH), an ATM withdrawal, and a purchase using a card to access an account).
        An item also includes a purported order, instruction, or authorization to withdraw or pay
        funds or money from an account, unless otherwise prohibited by law or regulation.




                                                                                                        Important legal
                                                                                                          information
        Overdraft: An overdraft is a negative balance in your account.

    What information does the Agreement contain?
    The Agreement
    •     Explains the terms of your banking relationship with Wells Fargo,




                                                                                                        error notifications
    •     Is the Agreement between Wells Fargo and you for your account and any services,




                                                                                                         Statements and
    •     Replaces all prior deposit agreements including any oral or written representations,
          and
    •     Includes legal information about your banking relationship with Wells Fargo.
    You are responsible for ensuring that any authorized signer on your account(s) is
    familiar with the Agreement.
    We suggest you retain a copy of the Agreement — and any further information we
    provide you regarding changes to the Agreement — for as long as you maintain your                   responsibilities
    Wells Fargo accounts.                                                                                 Rights and
    Are we allowed to change the Agreement?
    Yes, we can change the Agreement by adding new terms or conditions, or by modifying
    or deleting existing ones. We refer to each addition, modification, or deletion to the
    Agreement as a modification.
                                                                                                        savings accounts
                                                                                                          Checking and




    Notice of a modification: If we are required to notify you of a modification to the
    Agreement, we will describe the modification and its effective date by a message within
    your account statement or any other appropriate means.
    Waiver of a term of the Agreement: We may agree in writing to waive a term of the
    Agreement, including a fee. This is called a waiver. We may revoke any waiver upon
    notice to you.
                                                                                                        banking services
                                                                                                           Electronic




                                                                                Case ID: 210800043
                                                                                                    2
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 29 of 97
       Introduction
       How do you consent to the Agreement and any future
       modification to the Agreement?
       By signing the application for a deposit account or using your account or service
       you consent to the terms of this Agreement. Continuing to maintain or use the
       account or service after a modification to the Agreement or removal of a fee waiver
       becomes effective is considered your consent to those changes. A copy of the current
       Agreement will include modifications described in your account statement or otherwise
       communicated to you. You can obtain a copy of the current Agreement anytime by
       requesting it from a banker or at wellsfargo.com.

       What happens if a term of the Agreement is determined to be
       invalid?
       Any term of the Agreement that is inconsistent with the laws governing your account
       will be considered to be modified by us and applied in a manner consistent with such
       laws. Any term of the Agreement that a court of competent jurisdiction determines to
       be invalid will be modified accordingly. In either case, the modification will not affect the
       enforceability or validity of the remaining terms of the Agreement.

       With whom will we communicate about your account?
       We may provide you or an authorized signer with information about your account.
       When we receive information from an authorized signer, we treat it as a communication
       from you. You agree to notify us promptly in writing if an authorized signer no longer
       has authority on your account.




                                                                              Case ID: 210800043
   3   Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 30 of 97
    Resolving disputes through arbitration
    (Consumer accounts only)
    Arbitration Agreement between you and Wells Fargo




                                                                                                                Introduction
    If you have a dispute, we hope to resolve it as quickly and easily as possible. First, discuss
    your dispute with a banker. If your banker is unable to resolve your dispute, you agree
    that either Wells Fargo or you can initiate arbitration as described in this section.
    Definition: Arbitration means an impartial third party will hear the dispute between
    Wells Fargo and you and provide a decision. Binding arbitration means the decision




                                                                                                            through arbitration
                                                                                                            Resolving disputes
    of the arbitrator is final and enforceable. A dispute is any unresolved disagreement
    between Wells Fargo and you. A dispute may also include a disagreement about this
    Arbitration Agreement’s meaning, application, or enforcement.
    Wells Fargo and you each agrees to waive the right to a jury trial or a trial in front of
    a judge in a public court. This Arbitration Agreement has only one exception: Either
    Wells Fargo or you may still take any dispute to small claims court.
    Arbitration is beneficial because it provides a legally binding decision in a more streamlined,




                                                                                                            Important legal
    cost-effective manner than a typical court case. But, the benefit of arbitration is diminished if




                                                                                                              information
    either Wells Fargo or you refuse to submit to arbitration following a lawful demand. Thus, the
    party that does not agree to submit to arbitration after a lawful demand must pay all of the
    other party’s costs and expenses for compelling arbitration.

    Can either Wells Fargo or you participate in class or
    representative actions?




                                                                                                            error notifications
    No, neither Wells Fargo nor you will be entitled to join or consolidate disputes by or




                                                                                                             Statements and
    against others as a representative or member of a class, to act in any arbitration in
    the interests of the general public, or to act as a private attorney general.
    If any provision related to a class action, class arbitration, private attorney general
    action, other representative action, joinder, or consolidation is found to be illegal or
    unenforceable, the entire Arbitration Agreement will be unenforceable.

    What rules apply to arbitration?
                                                                                                            responsibilities
                                                                                                              Rights and
    Wells Fargo and you each agrees that
    •   The American Arbitration Association (AAA) will administer each arbitration and the
        selection of arbitrators according to the AAA’s Consumer Arbitration Rules (AAA Rules).
    •   If there are any differences between the AAA Rules and this Arbitration Agreement,
        this Arbitration Agreement applies. If this Arbitration Agreement is in dispute, the
        arbitrator will decide whether it is enforceable.
                                                                                                            savings accounts
                                                                                                              Checking and




    •   Wells Fargo and you are participating in commercial transactions involving the
        movement of money or goods among states.
    •   The Federal Arbitration Act (Title 9 of the United States Code) governs this
        Arbitration Agreement and any arbitration between Wells Fargo and you. If the Act
        or any part of it is inapplicable, unenforceable or invalid, the state laws governing
        your relationship with Wells Fargo govern this Arbitration Agreement.
    Either Wells Fargo or you may submit a dispute to binding arbitration at any time,
                                                                                                            banking services




    regardless of whether a lawsuit or other proceeding has previously begun. For
                                                                                                              Electronic




    information on initiating arbitration, contact the AAA at 1-800-778-7879.
    Each arbitrator must be a licensed attorney with expertise in the laws applicable to
    the dispute’s subject matter. The arbitrator will make a decision regarding the dispute
    based on applicable law, including any statutes of limitations. The arbitrator may award
    to either Wells Fargo or you any award or relief provided for by law.        Case ID: 210800043
                                                                                                        4
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 31 of 97
       Resolving disputes through arbitration
       (Consumer accounts only)
       No person participating in an arbitration can disclose the arbitration’s existence,
       content, subject, or results, except as required in a party’s ordinary course of business or
       by law.

       Who pays the arbitration fees and expenses?
       Arbitration fees and expenses are explained here:
       •   Setting the fees/expenses: The arbitration administrator determines the rules and
           procedures for deciding who pays the arbitration fees, unless limited by applicable
           law. Please check with the arbitration administrator to determine the fees applicable
           to any arbitration you file.
       •   Applying state law: The laws governing your account may limit the amount of
           fees and expenses you are required to pay in arbitration. Your arbitration fees and
           expenses will not exceed any applicable limits.
       •   Paying for attorney/expert/witness fees: Unless applicable laws state otherwise,
           each party will pay its own attorney, expert, and witness fees. This rule applies no
           matter which party wins arbitration.
       What other rights do Wells Fargo or you have when resolving
       disputes?
       Wells Fargo or you each can exercise any lawful rights or use other available remedies to
       •   Preserve or obtain possession of property,
       •   Exercise self-help remedies, including setoff rights, or
       •   Obtain provisional or ancillary remedies such as injunctive relief, attachment,
           garnishment, or appointment of a receiver by a court of competent jurisdiction.
       Where will an arbitration be held?
       An arbitration will be held in the state whose laws govern your account.




                                                                              Case ID: 210800043
   5   Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 32 of 97
    Resolving disputes through arbitration
    (Business accounts only)
    Arbitration Agreement between you and Wells Fargo




                                                                                                             Introduction
    If you have a dispute, we hope to resolve it as quickly and easily as possible. First, discuss
    your dispute with a banker. If your banker is unable to resolve your dispute, you agree
    that either Wells Fargo or you can initiate arbitration as described in this section.
    Definition: Arbitration means an impartial third party will hear the dispute between
    Wells Fargo and you and provide a decision. Binding arbitration means the decision




                                                                                                         through arbitration
                                                                                                         Resolving disputes
    of the arbitrator is final and enforceable. A “dispute” is any unresolved disagreement
    between Wells Fargo and you. A “dispute” may also include a disagreement about this
    Arbitration Agreement’s meaning, application, or enforcement.
    Except as stated in “No waiver of self-help or provisional remedies” below, Wells Fargo
    and you agree, at Wells Fargo’s or your request, to submit to binding arbitration all
    claims, disputes, and controversies between or among Wells Fargo and you (and their
    respective employees, officers, directors, attorneys, and other agents), whether in tort,
    contract or otherwise arising out of or relating in any way to your account(s) and/or




                                                                                                         Important legal
                                                                                                           information
    service(s), and their negotiation, execution, administration, modification, substitution,
    formation, inducement, enforcement, default, or termination (each, a “dispute”).
    DISPUTES SUBMITTED TO ARBITRATION ARE NOT RESOLVED IN COURT BY A
    JUDGE OR JURY. TO THE EXTENT ALLOWED BY APPLICABLE LAW, WELLS FARGO
    AND YOU EACH IRREVOCABLY AND VOLUNTARILY WAIVE THE RIGHT EACH
    MAY HAVE TO A TRIAL BY JURY FOR ANY DISPUTE ARBITRATED UNDER THIS




                                                                                                         error notifications
    AGREEMENT.




                                                                                                          Statements and
    Aside from self-help remedies, this Arbitration Agreement has only one exception:
    Either Wells Fargo or you may still take any dispute to small claims court.
    Arbitration is beneficial because it provides a legally binding decision in a more
    streamlined, cost-effective manner than a typical court case. But, the benefit of
    arbitration is diminished if either Wells Fargo or you refuse to submit to arbitration
    following a lawful demand. Thus, the party that does not agree to submit to arbitration
    after a lawful demand by the other party must pay all of the other party’s costs and
    expenses for compelling arbitration.                                                                 responsibilities
                                                                                                           Rights and
    Can either Wells Fargo or you participate in class or
    representative actions?
    No, Wells Fargo and you agree that the resolution of any dispute arising pursuant to
    the terms of this Agreement will be resolved by a separate arbitration proceeding and
    will not be consolidated with other disputes or treated as a class. Neither Wells Fargo
                                                                                                         savings accounts
                                                                                                           Checking and




    nor you will be entitled to join or consolidate disputes by or against others as a
    representative or member of a class, to act in any arbitration in the interests of the
    general public, or to act as a private attorney general. If any provision related to a class
    action, class arbitration, private attorney general action, other representative action,
    joinder, or consolidation is found to be illegal or unenforceable, the entire Arbitration
    Agreement will be unenforceable.

    What rules apply to arbitration?
                                                                                                         banking services
                                                                                                           Electronic




    Wells Fargo and you each agree that the arbitration will:
    •   Proceed in a location mutually agreeable to Wells Fargo and you, or if the parties
        cannot agree, in a location selected by the American Arbitration Association (AAA) in
        the state whose laws govern your account

                                                                               Case ID: 210800043
                                                                                                     6
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 33 of 97
       Resolving disputes through arbitration
       (Business accounts only)
       •   Be governed by the Federal Arbitration Act (Title 9 of the United States Code),
           notwithstanding any conflicting choice of law provision in any of the documents
           between Wells Fargo and you
       • Be conducted by the AAA, or such other administrator as Wells Fargo and you will
           mutually agree upon, in accordance with the AAA’s commercial dispute resolution
           procedures, unless the claim or counterclaim is at least $1,000,000 exclusive of
           claimed interest, arbitration fees and costs in which case the arbitration will be
           conducted in accordance with the AAA’s optional procedures for large, complex
           commercial disputes (the commercial dispute resolution procedures or the optional
           procedures for large, complex commercial disputes to be referred to, as applicable,
           as the “rules”).
       If there is any inconsistency between the terms hereof and any such rules, the terms
       and procedures set forth herein will control. Any party who fails or refuses to submit to
       arbitration following a lawful demand by any other party will bear all costs and expenses
       incurred by such other party in compelling arbitration of any dispute. Nothing contained
       herein will be deemed to be a waiver by Wells Fargo of the protections afforded to it
       under 12 U.S.C. Section 91 or any similar applicable state law.

       No waiver of self-help or provisional remedies
       This arbitration requirement does not limit the right of Wells Fargo or you to:
       1. Exercise self-help remedies, including setoff or
       2. Obtain provisional or ancillary remedies such as injunctive relief or attachment,
          before, during, or after the pendency of any arbitration proceeding.
       This exclusion does not constitute a waiver of the right or obligation of either party to
       submit any dispute to arbitration or reference hereunder, including those arising from
       the exercise of the actions detailed in (1) and (2) above.
       What are the Arbitrator qualifications and powers?
       Any dispute in which the amount in controversy is $5,000,000 or less will be decided
       by a single arbitrator selected according to the rules, and who will not render an
       award of greater than $5,000,000. Any dispute in which the amount in controversy
       exceeds $5,000,000 will be decided by majority vote of a panel of three arbitrators;
       provided however, that all three arbitrators must actively participate in all hearings
       and deliberations. Each arbitrator will be a neutral attorney licensed in the state whose
       laws govern your account, or a neutral, retired judge in such state, in either case with
       a minimum of ten years experience in the substantive law applicable to the subject
       matter of the dispute to be arbitrated. The arbitrator(s) will determine whether or not
       an issue is arbitratable and will give effect to the statutes of limitation in determining
       any claim. In any arbitration proceeding the arbitrator(s) will decide (by documents
       only or with a hearing at the discretion of the arbitrator(s)) any pre-hearing motions
       which are similar to motions to dismiss for failure to state a claim or motions for
       summary adjudication. The arbitrator(s) will resolve all disputes in accordance with the
       substantive law of the state whose laws govern your account and may grant any remedy
       or relief that a court of such state could order or grant within the scope hereof and such
       ancillary relief as is necessary to make effective any award. The arbitrator(s) will also
       have the power to award recovery of all costs and fees, to impose sanctions, and to take
       such other action as deemed necessary to the same extent a judge could pursuant to
       the federal rules of civil procedure, the state rules of civil procedure for the state whose
       laws govern your account, or other applicable law. Judgment upon the award rendered
                                                                             Case ID: 210800043
   7   Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 34 of 97
   Resolving disputes through arbitration
   (Business accounts only)




                                                                                                         Introduction
    by the arbitrator(s) may be entered in any court having jurisdiction. The institution
    and maintenance of an action for judicial relief or pursuit of a provisional or ancillary
    remedy will not constitute a waiver of the right of any party, including the plaintiff, to
    submit the controversy or claim to arbitration if any other party contests such action
    for judicial relief.

    Is discovery permitted in arbitration?




                                                                                                     through arbitration
                                                                                                     Resolving disputes
    Yes, in any arbitration proceeding, discovery will be permitted in accordance with the
    rules. All discovery will be expressly limited to matters directly relevant to the dispute
    being arbitrated and must be completed no later than 20 days before the hearing date.
    Any requests for an extension of the discovery periods, or any discovery disputes, will
    be subject to final determination by the arbitrator upon a showing that the request for
    discovery is essential for the party’s presentation and that no alternative means for
    obtaining information is available.




                                                                                                     Important legal
    Who pays the arbitration fees and expenses?




                                                                                                       information
    The arbitrator will award all costs and expenses of the arbitration proceeding.

    Are there additional rules for an arbitration proceeding?
    Yes, to the maximum extent practicable, the AAA, the arbitrator(s), Wells Fargo and
    you will take all action required to conclude any arbitration proceeding within 180 days




                                                                                                     error notifications
    of the filing of the dispute with the AAA. The arbitrator(s), Wells Fargo or you may not




                                                                                                      Statements and
    disclose the existence, content, or results thereof, except for disclosures of information
    by Wells Fargo or you required in the ordinary course of business, by applicable law or
    regulation, or to the extent necessary to exercise any judicial review rights set forth
    herein. If more than one agreement for arbitration by or between Wells Fargo and you
    potentially applies to a dispute, the arbitration agreement most directly related to your
    account or the subject matter of the dispute will control. This arbitration agreement
    will survive the closing of your account or termination of any service or the relationship
                                                                                                     responsibilities
    between Wells Fargo and you.

    Do Wells Fargo and you retain the right to pursue in small claims                                  Rights and
    court certain claims?
    Yes, notwithstanding anything to the contrary, Wells Fargo and you each retains the
    right to pursue in small claims court a dispute within that court’s jurisdiction. Further,
    this arbitration agreement will apply only to disputes in which either party seeks to
                                                                                                     savings accounts




    recover an amount of money (excluding attorneys’ fees and costs) that exceeds the
                                                                                                       Checking and




    jurisdictional limit of the small claims court.
                                                                                                     banking services
                                                                                                       Electronic




                                                                              Case ID: 210800043
                                                                                                 8
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 35 of 97
       Important legal information
       What laws govern your account?
       The laws governing your account include
       •   Laws, rules, and regulations of the United States, and
       •   Laws of the state where you opened your account (without regard to conflict of laws
           principles).
       For consumer and business accounts (except analyzed business accounts), your account
       statement will identify the state whose laws govern your account. If a different state
       law applies, we will notify you.
       Any funds transfer (including a wire transfer) that is a remittance transfer as defined
       in Regulation E, Subpart B, will be governed by the laws of the United States and, to
       the extent applicable, the laws of the state of New York, including New York’s version
       of Article 4A of the Uniform Commercial Code, without regard to its conflict of laws
       principles.

       What is the controlling language of our relationship?
       English is the controlling language of our relationship with you. Items you write such
       as checks or withdrawal slips must be written in English. For your convenience, we may
       translate some forms, disclosures, and advertisements into another language. If there
       is a discrepancy between our English-language and translated materials, the English
       version prevails over the translation.

       What agreement applies when there is a separate agreement for
       a service?
       If a service we offer has a separate agreement, and there is a conflict between the terms
       of the Agreement and the separate agreement, the separate agreement will apply.

       What courts may be used to resolve a dispute?
       Wells Fargo and you each agree that any lawsuits, claims, or other proceedings arising
       from or relating to your account or the Agreement, including the enforcement of the
       Arbitration Agreement and the entry of judgment on any arbitration award, will be
       venued exclusively in the state or federal courts in the state whose laws govern your
       account, without regard to conflict of laws principles.

       How will we contact you about your account?
       In order for us to service your account or collect any amount you owe, you agree that
       we may contact you by phone, text, email, or mail. We are permitted to use any address,
       telephone number or email address you provide. You agree to provide accurate and
       current contact information and only give us phone numbers and email addresses that
       belong to you.
       When you give us a phone number, you are providing your express consent permitting
       us (and any party acting on behalf of Wells Fargo) to contact you at the phone number
       you provide. We may call you and send you text messages. When we call you, you agree
       that we may leave prerecorded or artificial voice messages. You also agree that we may
       use automatic telephone dialing systems in connection with calls or text messages sent
       to any telephone number you give us, even if the telephone number is a mobile phone
       number or other communication service for which the called party is charged.


                                                                            Case ID: 210800043
   9   Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 36 of 97
    Statements and other information relating to your
    deposit account




                                                                                                            Introduction
    How do we make available account statements and other notices
    to you?
    We will mail, send electronically, or otherwise make available to you an account
    statement reflecting your account activity for each statement period. We’ll do the same
    with notices. We will send all account statements and notices to the postal or electronic
    address associated with your account.




                                                                                                        through arbitration
                                                                                                        Resolving disputes
    Combined account statements: To reduce the number of separate account statements
    you receive each month, we may combine statements if you have more than one
    deposit account.
    •   If we provide a combined account statement for your accounts, we consider the
        first account listed on your statement as your primary account. You will receive
        your account statement at the address listed for your primary account. Statements
        for accounts in a combined statement will be delivered according to the delivery




                                                                                                        Important legal
        preference of the primary account. Note: Any person with online access to the




                                                                                                          information
        primary account will also have online viewing capability to all the information on the
        combined statement.
    •   If you do not want us to automatically combine your account statements, you can opt-
        out by visiting a banking location or calling the number on your account statement.
    Account statements and notices for accounts owned by more than one owner:
    When an account has more than one owner, we will send or otherwise make available




                                                                                                        error notifications
                                                                                                         Statements and
    account statements and notices to only one owner. The owner receiving this
    information is responsible for sharing copies of the information with other owners.
    We may as a courtesy provide additional copies electronically. When the account
    owner requests that we send notices to an authorized signer, the authorized signer is
    responsible for providing copies to all account owners.

    Statement period and fee period changes for checking and non-
    IRA savings accounts
                                                                                                        responsibilities
    We may change the statement period and fee period assigned to your account without                    Rights and
    advance notification. If your account earns interest, these changes will not affect interest
    calculations, but they may affect the date we post interest to your account.
    For all accounts except analyzed business checking, if the first new fee period created by
    our change is fewer than 25 days, the Bank will automatically waive the monthly service
    fee for that period.
                                                                                                        savings accounts
                                                                                                          Checking and




    When is your account statement considered received?
    Mailed account statements: When we mail your account statement, we consider it
    received by you on the second business day after mailing it.
    Electronic delivery of account statements: Account statements will be made available
    through Wells Fargo Online® Banking or Wells Fargo Business Online®, as applicable, 24
    – 48 hours after the end of the statement period. You will be notified via email that the
                                                                                                        banking services




    account statement is available for viewing. We consider the account statement to be
                                                                                                           Electronic




    received by you when it is available online.




                                                                              Case ID: 210800043
                                                                                                   10
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 37 of 97
        Statements and other information relating to your
        deposit account
        What happens if your account statements or notices are returned
        or are undeliverable?
        Your account statements or notices will be considered unclaimed or undeliverable if
        •   Two or more account statements or notices are returned to us through the mail
            because of an incorrect address; or
        • We notify you electronically that your account statement is available for viewing at
            Wells Fargo Online Banking or Wells Fargo Business Online, as applicable, and we
            receive email notifications that our message is undeliverable.
        In either event, we may
        • Discontinue sending account statements and notices, and
        • Destroy account statements and notices returned to us as undeliverable.
        We will not attempt to re-deliver account statements and notices to you until you
        provide us with a valid postal or electronic address.
        How can you or Wells Fargo change your address for your account?
        Address change requests you make: You agree to promptly notify us of any change in
        your postal or email address by notifying us in writing or calling us at the number on your
        account statement at any time. If you have a combined account statement, any owner
        of the first account (primary account) can change the address of all accounts included in
        the combined account statement. We will act on your request within a reasonable time
        after we receive it. Unless you instruct otherwise, we may change the postal or electronic
        address only for the account(s) you specify or for all or some of your other account(s) with
        us.
        Address changes we make: We may update your listed address without a request from
        you if we
        •    Receive an address change notice from the U.S. Postal Service,
        •    Receive information from another party in the business of providing correct address
             details that does not match the listed address for your account or card, or
        •    Identify a need to rely on another address you have provided us.
        What obligations do you have to review account statements and
        notices and notify us of errors?
        You are obligated to:
        • Examine your account statement promptly and carefully.
        • Notify us promptly of any errors.
        • Notify us within 30 days after we have made your account statement available to
           you of any unauthorized transaction on your account. Note: If the same person
           has made two or more unauthorized transactions and you fail to notify us of the
           first one within this 30 day period, we will not be responsible for unauthorized
           transactions made by the same wrongdoer.
        • Notify us within six months after we have made your account statement available to
           you if you identify any unauthorized, missing or altered endorsements on your items.
        For specific information on unauthorized card transactions, see the “Helping protect
        your card” section in the “Debit cards and ATM cards” part of this Agreement.


                                                                              Case ID: 210800043
   11       Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 38 of 97
    Statements and other information relating to your
    deposit account




                                                                                                           Introduction
    Consumer accounts only: Electronic fund transfers are subject to different time
    periods for notification of errors, as described in the “Electronic fund transfer services”
    part of this Agreement. Common examples of electronic fund transfers are ATM, debit
    card, and Online Bill Pay transactions.

    What happens if you fail to notify us of an unauthorized
    transaction within the time frames specified above?




                                                                                                       through arbitration
                                                                                                       Resolving disputes
    If you fail to notify us of any unauthorized transaction, error, or claim for a credit
    or refund within the time frames specified above, your account statement will be
    considered correct and we will not be responsible for any unauthorized transaction,
    error, or claim for transactions included in the applicable statement.

    When is a transaction unauthorized?
    A transaction is an unauthorized transaction when it is




                                                                                                       Important legal
    • Missing a required signature or other evidence showing you have authorized it, or




                                                                                                         information
    • Altered (for example, the amount of a check or the payee’s name is changed).
    You can notify us of errors on your account statements by promptly
    • Calling the telephone number listed on your account statement or in a notice, or
    • Submitting a written report (if instructed by us) as soon as possible, but in any event
       within the specified time frames.




                                                                                                       error notifications
                                                                                                        Statements and
    What happens when you report an unauthorized transaction?
    We investigate any reports of unauthorized activity on your account. After you submit a
    claim, we may require you to:
    •   Complete and return the claim form and any other documents we require,
    •   Notify law enforcement, and
    •   Cooperate fully with us in our investigation.
    We can reverse any credit made to your account resulting from a claim of unauthorized              responsibilities
    transaction if you do not cooperate fully with us in our investigation or recovery efforts,          Rights and
    or we determine the transaction was authorized.
    For specific information on unauthorized card transactions, see the “Helping protect
    your card” section in the “Debit cards and ATM cards” part of this Agreement.
    Consumer accounts only: For specific information on unauthorized electronic fund
                                                                                                       savings accounts




    transfers, see the “Electronic fund transfer services” part of this Agreement.
                                                                                                         Checking and




    Is there a risk of losses as a result of unauthorized items on your
    account?
    Yes, you acknowledge that there is a growing risk of losses resulting from unauthorized
    items.
    Protection against unauthorized items
                                                                                                       banking services




    Are you responsible for taking reasonable steps to help prevent fraud on your
                                                                                                         Electronic




    account?
    Yes, you agree to take reasonable steps to ensure the integrity of your account and
    items drawn on your account or deposited to it. You acknowledge that there is a

                                                                              Case ID: 210800043
                                                                                                  12
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 39 of 97
        Statements and other information relating to your
        deposit account
        growing risk of losses resulting from unauthorized items. To help prevent fraud and
        protect your assets, we recommend that you take these preventive measures:
        •    Reconcile statements for your account as you receive them and notify us promptly
             of any problem.
        •    Contact us promptly if you do not receive the statement for your account when you
             would normally expect it.
        •    Secure your supply of checks at all times. Stolen checks are a common method of fraud.
        •    Destroy any check that you do not intend to use.
        •    Use tamper resistant checks at all times.
        •    Do not sign blank checks.
        This is not an exhaustive list and there may be additional preventive measures you may
        take to prevent fraud and protect your accounts.

        Additional terms - Protection against unauthorized items
        (Business customers only):
        Are there additional steps business customers can take to help reduce the risk of
        fraud on their account?
        Yes, in addition to the preventive measures described in the section above titled, “Are
        you responsible for taking reasonable steps to help prevent fraud on your account?”,
        we also recommend that customers with business accounts follow these preventive
        measures to reduce their exposure to fraud:
        •    Assign responsibilities for your business account to multiple individuals. The
             individuals who reconcile statements for your business account should be different
             from those individuals who issue items drawn on your business account.
        •    Watch for checks cashed out of sequence or made out to cash. These are classic red
             flags for embezzlement.
        •    Periodically reassign accounting duties such as reconciling your business account or
             making a deposit.
        •    Review your transaction activity for unexpected fluctuations. For example, compare
             the percentage of cash deposits to total deposit size. Most businesses will maintain
             a constant average. A large fluctuation might indicate embezzlement.
        •    Notify us promptly when an authorized signer’s authority ends so that his/her name
             can be removed from all signature cards and online banking access, and any cards
             that we have issued to him/her can be cancelled.
        •    Obtain insurance coverage for bank account fraud risks.
        Does Wells Fargo offer any services to help prevent fraud on analyzed business
        accounts?
        Yes, we offer services for analyzed business accounts that provide effective means for
        controlling the risk from unauthorized items. Examples of these services include:
        • Positive pay, positive pay with payee validation, or reverse positive pay
        • ACH fraud filter, and
        • Payment Authorization service.
        In addition, we may recommend you use certain fraud prevention practices to reduce
        your exposure to fraud. Each of these practices is an “industry best practice.” Dual
        custody is an example of an industry best practice. With dual custody, when one user
                                                                               Case ID: 210800043
   13       Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 40 of 97
    Statements and other information relating to your
    deposit account




                                                                                                          Introduction
    initiates an action like a payment or a change in the set-up of a service, the action does
    not take effect until a second user approves the action using a different computer or
    mobile device than the one used to initiate the action.
    What are potential consequences if a business customer does not implement the
    fraud prevention services or industry best practices Wells Fargo has recommended?
    If we have expressly recommended that you use a fraud prevention service or industry
    best practice and you either (a) decide not to implement or use the recommended




                                                                                                      through arbitration
                                                                                                      Resolving disputes
    service or industry best practice or (b) fail to use it in accordance with the applicable
    service description or our other applicable documentation, then you will be treated as
    having assumed the risk of any losses that could have been prevented or mitigated by
    correct use of the recommended service or best practice.

    When are notices you send to us effective?
    Any notice from you is effective once we receive it and have a reasonable opportunity to




                                                                                                      Important legal
    act on it.




                                                                                                        information
    Are original paid checks returned with account statements?
    No. We do not return original paid checks with your account statements. Copies of your
    paid checks are available through Wells Fargo Online Banking or Wells Fargo Business
    Online, by calling Wells Fargo Phone Bank or Wells Fargo National Business Banking
    Center, banking locations, or by enrolling in our check images with statements service.




                                                                                                      error notifications
                                                                                                       Statements and
    Fees may apply for this service.

    When does your account become dormant?
    Checking accounts, savings accounts, and Time Accounts (CDs)
    Generally, an account with a positive balance becomes dormant if you do not initiate an
    account-related activity for 12 months for a checking account, 34 months for a savings
    account, or 34 months after the first renewal for a Time Account. An account-related
    activity is determined by the laws governing your account. Examples of account-related
                                                                                                      responsibilities
                                                                                                        Rights and
    activity are depositing or withdrawing funds at a banking location or ATM, or writing
    a check which is paid from the account. Automatic transactions set up on the account
    (including recurring and one-time), such as pre-authorized transfers/payments and
    electronic deposits (including direct deposits), do not prevent the account from becoming
    dormant, unless otherwise specified by state law.

    Individual Retirement Accounts (IRAs) and Education Savings Accounts (ESAs)
                                                                                                      savings accounts
                                                                                                        Checking and




    Generally, your IRA and ESA (Savings or Time Account) will become dormant if you do
    not initiate an account-related activity as follows:
    •   Traditional IRA becomes dormant if you do not initiate an account-related activity
        for 34 months or more after you reach the age of 70 ½ (if you reached that age prior
        to January 1, 2020) or 72 (if you did not reach age 70 ½ prior to January 1, 2020)
    •   Roth IRA will not become dormant unless we receive notification of your death,
        unless otherwise specified by state law
                                                                                                      banking services
                                                                                                        Electronic




    •   ESA becomes dormant after the beneficial owner reaches age 30, unless otherwise
        specified by state law
    An account-related activity that you initiate is determined by the laws governing your
    account.

                                                                             Case ID: 210800043
                                                                                                 14
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 41 of 97
        Statements and other information relating to your
        deposit account
        What happens to a dormant account?
        We put safeguards in place to protect a dormant account which may include restricting
        the following transactions:
        •    Transfers between your Wells Fargo accounts using your ATM/debit card
        •    Transfers by phone using our automated banking service
        •    Transfers or payments through online, mobile, and text banking (including Bill Pay)
        •    Wire transfers (incoming and outgoing)
        •    Contributions or transfers to IRA or ESA savings through online and mobile banking
        Normal monthly service and other fees continue to apply (except where prohibited by law).
        If you do not initiate an account-related activity on the account within the time period
        as specified by state unclaimed property laws (generally, 3 or 5 years) and do not
        respond to Wells Fargo’s due diligence outreach (when it is required by law) to confirm
        your awareness of and interest in the account funds, your account funds may be
        transferred to the appropriate state. This transfer is known as escheat. If your account
        becomes escheatable, account statements will no longer be available. Your account will
        be closed. To recover your account funds, you must file a claim with the state.

        Portfolio accounts only: If the dormant account is a primary Wells Fargo Portfolio
        Checking account or Wells Fargo Prime Checking account, about two months before the
        account escheats, we will close any associated program including Portfolio by Wells Fargo®,
        Portfolio by Wells Fargo PlusSM, or Portfolio by Wells Fargo Premier®. When the Portfolio by
        Wells Fargo, Portfolio by Wells Fargo Plus, or Portfolio by Wells Fargo Premier program is
        closed, we will delink all accounts and any benefits such as fee waivers, interest rate bonuses
        and discounted services associated with it will be discontinued. Your primary Wells Fargo
        Portfolio Checking account or Wells Fargo Prime Checking account is the ﬁrst account
        listed in your monthly statement. To reinstate your program beneﬁts, the primary checking
        account must be in an active status and you must contact us to reestablish the program. If
        other linked accounts become dormant, the accounts will be removed from any associated
        program and fees may apply.

        What are checking subaccounts?
        For each checking account you maintain with us, we may establish on your behalf a
        master account and two subaccounts.
        All information that is made available to you about your account will be at the master
        account level. The subaccounts are composed of a savings account and a checking account.
        On the first day of each month, we will allocate funds between the two subaccounts as
        appropriate. Items received by us that are drawn against your master account will be
        presented for payment against the checking subaccount. Funds will be transferred from
        the savings subaccount as may be needed to cover checks presented on the checking
        subaccount. On the sixth transfer from the savings subaccount during a statement period,
        all of the funds on deposit in the savings subaccount will be transferred to the checking
        subaccount. If your account earns interest, the use of subaccounts will not affect the interest
        you earn.




                                                                                  Case ID: 210800043
   15       Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 42 of 97
    Rights and responsibilities
    What responsibilities and liabilities do Wells Fargo and you have




                                                                                                          Introduction
    to each other?
    We are responsible for exercising ordinary care and complying with the Agreement.
    When we take an item for processing by automated means, ordinary care does not
    require us to examine the item. In all other cases, ordinary care requires only that we
    follow standards that do not vary unreasonably from the general standards followed by
    similarly situated banks.
    Except to the extent we fail to exercise ordinary care or to comply with the Agreement,




                                                                                                      through arbitration
                                                                                                      Resolving disputes
    you agree to indemnify and hold us harmless from all claims, demands, losses, liabilities,
    judgments, and expenses (including attorney’s fees and expenses) arising out of or
    in any way connected with our performance under the Agreement. You agree this
    indemnification will survive termination of the Agreement.
    In no event will either Wells Fargo or you be liable to the other for any special,
    consequential, indirect or punitive damages. The limitation does not apply where the
    laws governing your account prohibit it.




                                                                                                      Important legal
    We will not have any liability to you if your account does not have sufficient available




                                                                                                        information
    funds to pay your items due to actions we have taken in accordance with the Agreement.
    Circumstances beyond your control or ours may arise and make it impossible for us to
    provide services to you or for you to perform your duties under the Agreement. If this
    happens, neither Wells Fargo nor you will be in breach of the Agreement.
    If we waive a right with respect to your account on one or more occasions, it does not
    mean we are obligated to waive the same right on any other occasion.




                                                                                                      error notifications
                                                                                                       Statements and
    Are you obligated to pay our fees?
    Yes, by continuing to maintain your account you agree to pay our fees for specific
    accounts, specific transactions, and for using specific services.
    We are permitted to either directly debit your account or invoice you for our fees and
    expenses and taxes incurred in connection with your account and any service. If the
    available funds in your account are not sufficient to cover the debit, we may create an

                                                                                                      responsibilities
    overdraft on your account.

    What are we allowed to do if there is an adverse claim against                                      Rights and
    your account?
    An adverse claim occurs when
    • Any person or entity makes a claim against your account funds,
    • We believe a conflict exists between or among your account’s owners, or
                                                                                                      savings accounts




    • We believe a dispute exists over who has account ownership or authority to
                                                                                                        Checking and




       withdraw funds from your account.
    In these situations, we may take any of the following actions without any responsibility
    to you:
    • Continue to rely on the documents we have on file for your account.
    • Honor the claim against your account funds if we are satisfied the claim is valid.
    • Freeze all or a part of the funds in your account until we believe the dispute is
                                                                                                      banking services




        resolved to our satisfaction.
                                                                                                        Electronic




    • Close your account and send a check for the available balance in your account
        payable to you or to you and each person or entity who claimed the funds.
    • Pay the funds into an appropriate court.
    We also may charge any account you maintain with us for our fees and expenses in
    taking these actions (including attorney’s fees and expenses).          Case ID: 210800043
                                                                                                 16
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 43 of 97
        Rights and responsibilities
        If you carry special insurance for employee fraud/embezzlement,
        can we require you to file your claim with your insurance company
        before making any claim against us? (Business accounts only)
        Yes, if you have special insurance for employee fraud/embezzlement, we reserve the
        right to require you to file your claim with your insurance company before making any
        claim against us. In such event, we will consider your claim only after we have reviewed
        your insurance company’s decision, and our liability to you, if any, will be reduced by the
        amount your insurance company pays you.

        Are we allowed to restrict access to your account or delay certain
        transactions?
        Yes, if we suspect any suspicious, irregular, unauthorized, fraudulent, or unlawful
        activities, we can decline, prevent, or delay any or all transactions to or from your
        account, freeze all or some of the funds in your account and other accounts with us that
        you maintain or control, and otherwise restrict access to your account. We may take
        these actions in our sole discretion and without any liability to you.

        How do we handle legal process?
        Legal process includes any levy, garnishment or attachment, tax levy or withholding
        order, injunction, restraining order, subpoena, search warrant, government agency
        request for information, forfeiture or seizure, and other legal process relating to your
        account.
        We will accept and act on any legal process we believe to be valid, whether the process is
        served in person, by mail, by electronic notification, or at any banking location.
        If we incur any fees or expenses (including attorney’s fees and expenses) due to
        responding to legal process related to your account, we may charge these costs to any
        account you maintain with us.

        Are transactions subject to verification by the Bank?
        Yes. All transactions are subject to the Bank’s verification. This includes cash, items, or
        other funds offered for deposit for which we have provided a receipt. We do not verify
        all transactions. We reserve the right to reverse or otherwise adjust, at any time without
        prior notice to you, any debit or credit we believe we have erroneously made to your
        account.

        Are we allowed to convert your account without your request?
        Yes, we can convert your account to another type of deposit account (by giving you any
        required notice) if
        •    You use it inappropriately or fail to meet or maintain the account’s requirements, or
        •    We determine an account is inappropriate for you based on your use, or
        •    We stop offering the type of account you have.

        When can you close your account?
        You can request to close your account at any time if the account is in good standing
        (e.g., does not have a negative balance or restrictions such as holds on funds, legal order
        holds, or court blocks on the account). At the time of your request, we will assist you in
        withdrawing or transferring any remaining funds, bringing your account balance to zero.


                                                                               Case ID: 210800043
   17       Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 44 of 97
    Rights and responsibilities
    •   All outstanding items need to be processed and posted to your account and all




                                                                                                             Introduction
        deposits need to be collected and posted to your account before your request to
        close. Once the account is closed items will be returned unpaid.
    •   Any recurring payments or withdrawals from your account need to be cancelled
        before your request to close (examples include bill payments and debit card
        payments) otherwise, they may be returned unpaid.
    •   We will not be liable for any loss or damage that may result from not honoring items
        or recurring payments or withdrawals that are presented or received after your




                                                                                                     through arbitration
                                                                                                     Resolving disputes
        account is closed.
    •   During the process of closing your account:
        – Interest-earning accounts will stop earning interest.
        – Overdraft Protection will be removed.
        – All cards and linked accounts will be delinked.
        – The Agreement continues to apply.
    Are we allowed to terminate or suspend a service related to your




                                                                                                     Important legal
                                                                                                       information
    account?
    Yes, we can terminate or suspend specific services (e.g., wire transfers) related to
    your account without closing your account and without prior notice to you. You can
    discontinue using a service at any time.

    When can we close your account?




                                                                                                     error notifications responsibilities
                                                                                                      Statements and
    We reserve the right to close your account at any time. If we close your account, we
    may send the remaining balance on deposit in your account by postal mail or credit it to
    another account you maintain with us.

    When will electronic banking privileges be terminated?
    All of your electronic banking privileges will be terminated if your account is closed,
    except that you can view account activity, download statements and tax documents,
    and perform limited maintenance functions for at least 90 days after closure. If you are
                                                                                                                           Rights and
    enrolled in Wells Fargo Online or Wells Fargo Business Online, refer to the Online Access
    Agreement for specific terms governing online access to your account.

    Are we allowed to obtain credit reports or other reports about you?
    Yes, we can obtain a credit or other report about you and your co-owners to help us
    determine whether to open or maintain an account. Other reports we can obtain
                                                                                                     savings accounts




    include information from the following: 1) motor vehicle departments, 2) other state
                                                                                                       Checking and




    agencies, or 3) public records.

    When do we share information about your account with others?
    Generally, if we do not have your consent, we will not share information about your
    account. However, we may share information about your account in accordance with our
    Privacy Policy separately given to you.
                                                                                                     banking services
                                                                                                       Electronic




                                                                           Case ID: 210800043
                                                                                                18
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 45 of 97
        Rights and responsibilities
        Are we allowed to monitor and record communications?
        Yes, we can monitor, record, and retain your communications with us at any time
        without further notice to anyone, unless the laws governing your account require
        further notice.
        Monitored and recorded communications include:
        •    Telephone conversations,
        •    Electronic messages,
        •    Electronic records, or
        •    Other data transmissions.

        Can Wells Fargo benefit from having the use of funds in
        customers’ non-interest earning accounts?
        Yes. We may benefit from having the use of funds in customers’ non-interest earning
        accounts. We may use these funds to reduce our borrowing from other sources such
        as the Fed Funds market or invest them in short-term investments such as its Federal
        Reserve Account. This benefit may be referred to as spread. It is not possible to
        quantify the benefit to us that may be attributable to a particular customer’s funds
        because funds from all customers’ non-interest earning accounts are aggregated
        both for purposes of reducing our borrowing costs and for investment and because
        our use of funds may vary depending on a number of factors including interest rates,
        Federal Funds rates, credit risks and our anticipated funding needs. Our use of funds as
        described in this paragraph has no effect or impact on your use of and access to funds in
        your account.

        Is your wireless operator authorized to provide information to
        assist in verifying your identity?
        Yes, and as a part of your account relationship, we may rely on this information to assist
        in verifying your identity. You understand and agree that Wells Fargo may collect, use,
        and retain personal or other information about you or your device pursuant to
        Wells Fargo’s policies or as required by applicable law.
        You authorize your wireless operator to disclose your mobile number, name, address,
        email, network status, customer type, customer role, billing type, mobile device identifiers
        (IMSI and IMEI) and other subscriber and device details, if available, to Wells Fargo
        and service providers for the duration of the business relationship, solely for identity
        verification and fraud avoidance. Review our Privacy Policy for how we treat your data.
        You represent that you are the owner of the mobile phone number or have the delegated
        legal authority to act on behalf of the mobile subscriber to provide this consent.

        Are you responsible for paying taxes?
        Yes, fees may be subject to state and local sales taxes, which vary by location, and will be
        assessed as appropriate. You also agree to pay an amount equal to any other applicable
        taxes, including backup withholding tax.

        What is the applicable exchange rate?
        The applicable exchange rate is the exchange rate we set and use for you when we convert
        one currency to another currency. It includes a markup over our cost of sourcing the
        relevant currency. The markup factors include without limitation costs incurred, market
        risks, and our desired return. The exchange rate we provide to you may be different from
                                                                               Case ID: 210800043
   19       Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 46 of 97
    Rights and responsibilities
    exchange rates you see elsewhere. Foreign exchange markets are dynamic and rates
    fluctuate over time based on market condition, liquidity, and risks. We reserve the right to




                                                                                                                Introduction
    refuse to process any request for a foreign exchange transaction.

    Will we close your account if the balance is zero?
    Accounts with a zero balance will continue to be charged applicable fees (like the
    monthly service fee) until you request to close your account. An account (except
    analyzed business accounts) with a zero balance may be closed by us on the fee period




                                                                                                        through arbitration
                                                                                                        Resolving disputes
    ending date without prior notification.
    •   To prevent closure by us without notification, an account with a zero balance must
        have a qualifying, non-automatic transaction posted within the last two months
        of the most recent fee period ending date. IOLTA and RETA accounts require a
        qualifying transaction within 10 months of the most recent fee period ending date.
    •   Examples of qualifying transactions are deposits or withdrawals made at a banking
        location, ATM, or via telephone, mobile deposits, one-time transfers made at a




                                                                                                        Important legal
        banking location, ATM, online, mobile, or via telephone, one-time purchases or




                                                                                                          information
        payments made using a card or mobile device, or checks paid from the account.
    •   Automatic or electronic deposits, such as payroll, and automatic or electronic
        payments, including bill pay, recurring transfers, and any bank-originated
        transactions, like monthly service or other fees, are not considered qualifying
        transactions that will prevent closure of an account with a zero balance.




                                                                                                        error notifications responsibilities
                                                                                                         Statements and       Rights and
                                                                                                        savings accounts
                                                                                                          Checking and
                                                                                                        banking services
                                                                                                          Electronic




                                                                              Case ID: 210800043
                                                                                                   20
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 47 of 97
        Deposits to your account
        Are we required to accept all deposits to your account?
        No. We may decline all or part of a deposit, including a cash deposit. Some examples are
        (a) an item made out to a payee not on your account, (b) an item with an endorsement
        we are unable to verify, (c) a check or draft issued on a credit account, and (d) a non-U.S.
        item. When we are unable to verify an endorsement on an item, we can also decline
        to pay, cash, or send the item for collection. We can require all endorsers be present
        and we may require you to deposit the item instead of permitting you to cash it. For
        non-U.S. items, please see the response to “How do we handle non-U.S. items?” We do
        not accept cash deposits into consumer accounts from non-account owners. We may
        require any person wanting to make a cash deposit into a business account to provide
        an acceptable form of identification before we accept the deposit for processing.

        Who is responsible to make sure the declared amount of funds
        offered for deposit is accurate?
        It is your responsibility, and the Bank has no obligation, to make sure the declared
        amount of your deposit is accurate. If we determine a discrepancy exists between
        the declared and the actual amount of the funds, we are permitted to adjust (debit
        or credit) your account and we may notify you if any adjustments are made. We are
        also permitted to use the declared amount as the correct amount to be deposited and
        to not adjust a discrepancy if it is less than our standard adjustment amount. We are
        permitted to vary our standard adjustment amount from time to time without notice
        to you and to use different amounts depending on account type.
        If you fail to notify us during the applicable time frames specified below, the deposit
        amount on your statement will be considered correct. This means that if the actual
        amount is less than the amount on the statement, the difference will become your
        property. If the actual amount is more than the amount shown on the statement, the
        difference will become the Bank’s property.
        Consumer accounts only: Notify us of an error in the amount of a deposit shown on
        your account statement within one year after we have made your account statement
        available to you.
        Business accounts only: Notify us of an error in the amount of a deposit shown on
        your account statement within 30 days after we have made your account statement
        available to you.
        Can you arrange to have us adjust deposit discrepancies
        identified during any verification without regard to our standard
        adjustment amount? (Analyzed business accounts only)
        Yes. If your account is an analyzed business account, you may arrange for the Bank to
        adjust deposit discrepancies identified during any verification without regard to our
        standard adjustment amount by contacting your local banker or calling the number on
        your statement.

        What happens if we send an item for collection?
        We may, upon notice to you, send an item for collection instead of treating it as a
        deposit. This means that we send the item to the issuer’s bank for payment. Your
        account will not be credited for the item until we receive payment for it.
        Our funds availability policy does not apply to an item we accept for collection.


                                                                               Case ID: 210800043
   21    Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 48 of 97
    Deposits to your account
    What are the requirements for a correct endorsement?




                                                                                                            Introduction
    An endorsement is a signature, stamp, or other mark on the back of a check. If you have
    not endorsed a check that you deposited to your account, we may endorse it for you.
    Your endorsement (and any other endorsement before the check is deposited) must
    be in the 1-1/2–inch area that starts on the top of the back of the check (see sample
    below). Do not sign or write anywhere else on the back of the check.

                       Consumer                                       Business




                                                                                                        through arbitration
                                                                                                        Resolving disputes
          John Sample                                  PAYEE (Exact name)
          For deposit only                              BY: John Sample
          WF # 123456789                                 (Signature of person signing on
                                                         payee’s behalf - only if payee not an
                                                         individual)




                                                                                                        Important legal
                                                         For deposit only WF #




                                                                                                          information
                                                         123456789

       DO NOT SIGN / WRITE / STAMP BELOW THIS LINE   DO NOT SIGN / WRITE / STAMP BELOW THIS LINE
         FOR FINANCIAL INSTITUTION USAGE ONLY          FOR FINANCIAL INSTITUTION USAGE ONLY




                                                                                                        error notifications
                                                                                                         Statements and
    Are we bound by restrictions or notations on checks?
    No, we are not bound by restrictions or notations, such as “void after six months,” “void
    over $50,” or “payment in full.”
    When you cash or deposit a check with a notation or restriction, you are responsible for
    any loss or expense we incur relating to the notation or restriction.
                                                                                                        responsibilities
                                                                                                          Rights and
    What is a substitute check?
    A substitute check is created from an original check; under federal law, it is legally
    equivalent to that original check. A substitute check contains an accurate copy of the
    front and back of the original check and bears the legend: This is a legal copy of your
    check. You can use it the same way you would use the original check. As noted in the
    legend, a substitute check is the same as the original check for all purposes, including
                                                                                                        savings accounts




    proving that you made a payment. Any check you issue or deposit that is returned
                                                                                                          Checking and




    to you may be returned in the form of a substitute check. You agree that you will not
    transfer a substitute check to us, by deposit or otherwise, if we would be the first
    financial institution to take the substitute check, unless we have expressly agreed in
    writing to take it.

    What happens if you breach a warranty associated with an item?
                                                                                                        banking services




    If you breach any warranty you make to us under the laws governing your account
    with respect to any item, you will not be released or discharged from any liability for
                                                                                                           Electronic




    the breach so long as we notify you of the breach within 120 days after we learn of
    the breach. If we fail to notify you within this 120 day period, you will be released from
    liability and discharged only to the extent our failure to notify you within this time
    period caused a loss to you.
                                                                                Case ID: 210800043
                                                                                                   22
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 49 of 97
        Deposits to your account
        How do we handle non-U.S. items?
        A non-U.S. item is an item 1) payable in a currency other than U.S. dollars or 2) drawn on
        a financial institution that is not organized under U.S. law. We are not required to accept
        a non-U.S. item for deposit to your account or for collection. We may accept non-U.S.
        items on a collection basis without your specific instruction to do so. We can reverse any
        amount we have credited to your account and send the item on a collection basis even if
        we have taken physical possession of the item.
        If we accept a non-U.S. item, the U.S. dollar amount you receive for it will be determined
        by our exchange rate that is in effect at the time of deposit or our receipt of final
        payment (less any associated fees) of the collection item. If the non-U.S. deposited
        item is returned unpaid for any reason, we will charge the amount against your account
        (or any other account you maintain with us) at the applicable exchange rate in effect
        at the time of the return. For information on the applicable exchange rate, see “What
        is the applicable exchange rate?” in the “Rights and responsibilities” section of the
        Agreement.
        Our funds availability policy does not apply to a non-U.S. item.

        What is our responsibility for collecting a deposited item?
        We are responsible for exercising ordinary care when collecting a deposited item. We
        will not be responsible for the lack of care of any other bank involved in the collection or
        return of a deposited item, or for an item lost in collection or return.

        What happens when a deposited or cashed item is returned unpaid?
        We can deduct the amount of the deposited or cashed item from your account (or any
        other account you maintain with us). We can do this when we are notified that the item
        will be returned. We do not need to receive the actual item (and usually do not receive
        it). We can do this even if you have withdrawn the funds and the balance in your account
        is not sufficient to cover the amount we hold or deduct and your account becomes
        overdrawn. In addition, we will charge you all applicable fees and reverse all interest
        accrued on the item.
        We may place a hold on or charge your account for any check or other item deposited
        into your account if a claim is made or we otherwise have reason to believe the check
        or other item was altered, forged, unauthorized, has a missing signature, a missing or
        forged endorsement, or should not have been paid, or may not be paid, or for any other
        reason. When the claim is finally resolved, we will either release the hold or deduct the
        amount of the item from your account. We are not legally responsible if we take or fail
        to take any action to recover payment of a returned deposited item.

        What happens when an electronic payment is reversed?
        We may deduct the amount of an electronic payment credited to your account (e.g.,
        direct deposit) that is reversed. We can deduct the amount from any account you have
        with us at any time without notifying you. You agree to promptly repay any overdrafts
        resulting from the reversed payment.

        Are you responsible for assisting us in reconstructing a lost or
        destroyed deposited item?
        If a deposited item is lost or destroyed during processing or collection, you agree to
        provide all reasonable assistance to help us reconstruct the item.

                                                                               Case ID: 210800043
   23    Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 50 of 97
    Funds availability policy
    Your ability to withdraw funds




                                                                                                           Introduction
    Our policy is to make funds from your check deposits to your checking or savings
    account (in this policy, each account) available to you on the first business day after the
    day we receive your deposits. Incoming wire transfers, electronic direct deposits, cash
    deposited at a teller window and at a Wells Fargo ATM, and the first $400 of a day’s
    check deposits at a teller window and at a Wells Fargo ATM will be available on the day
    we receive the deposits. Certain electronic credit transfers, such as those through card
    networks or funds transfer systems, will be available on the day we receive the transfer.




                                                                                                       through arbitration
                                                                                                       Resolving disputes
    Once they are available, you can withdraw the funds in cash and we will use the funds to
    pay checks and other items presented for payment and applicable fees that you have
    incurred.

    Determining the day your deposit is received by the Bank
    For determining the day your deposit is received by the Bank, every day is a business
    day, except Saturday, Sunday, and federal holidays. If you make a deposit before our




                                                                                                       Important legal
    established cutoff time on a business day that we are open, we will consider that day to




                                                                                                         information
    be the day your deposit is received by the Bank. However, if you make a deposit after
    our cutoff time or on a day we are not open, we will consider the day your deposit is
    received by the Bank to be the next business day we are open.
    Our deposit cutoff times are as follows:
    •   Branch deposits: when the branch closes for business; varies by location




                                                                                                       error notifications
    •   Wells Fargo ATM deposits: 9 p.m. local time (Alaska 8 p.m.)




                                                                                                        Statements and
    •   Check deposits made via the Wells Fargo Mobile Banking app: 9 p.m. Pacific Time
    •   Electronic credits (such as Direct Deposit or account transfers): 8 p.m. Pacific Time
    Longer delays may apply
    In some cases, we will not make the first $400 of a business day’s check deposits
    available to you on the day we receive the deposits. Further, in some cases, we will not
    make all the funds that you deposit by check available to you on the first business day
                                                                                                       responsibilities
                                                                                                         Rights and
    after the day of your deposit. Depending on the type of check that you deposit, funds
    may not be available until the second business day after the day of your deposit. The
    first $225 of your deposit, however, may be available on the first business day.
    Except as otherwise explained in this paragraph, if we are not going to make all funds
    from your deposit available on the business day of deposit or the first business day
    after the day of deposit, we will notify you at the time you make your deposit. We
                                                                                                       savings accounts




    will also tell you when the funds will be available. If your deposit is not made directly
                                                                                                         Checking and




    to a Wells Fargo employee, or if we decide to take this action after you have left the
    premises, we will mail you the notice by the first business day after we receive your
    deposit.
    If you need the funds from a deposit right away, you may ask us when the funds will be
    available.
    In addition, funds you deposit by check may be delayed for a longer period under the
                                                                                                       banking services




    following circumstances:
                                                                                                          Electronic




    •   We believe a check you deposit will not be paid
    •   You deposit checks totaling more than $5,525 on any one day
    •   You redeposit a check that has been returned unpaid
    •   You have overdrawn your account repeatedly in the last six months
    •                                                                         Case ID: 210800043
        There is an emergency, such as failure of computer or communications equipment
                                                                                                  24
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 51 of 97
        Funds availability policy
        We will notify you if we delay your ability to withdraw funds for any of these reasons,
        and we will tell you when the funds will be available. The funds will generally be available
        no later than the seventh business day after the day of your deposit.

        Special rules for new accounts
        If you are a new customer, the following special rules will apply during the first 30 days
        your account is open. Incoming wire transfers, electronic direct deposits, and cash
        deposited at a teller window and at a Wells Fargo ATM will be available on the day we
        receive the deposit. Funds from your check deposits will be available on the business
        day after the day we receive the deposits; no funds from a business day’s check deposits
        are available on the day we receive the deposits.
        If we delay the availability of your deposit the following special rules may apply:
        •    The first $5,525 of a day’s total deposits of cashier’s, certified, teller’s, traveler’s, and
             federal, state, and local government checks and U.S. Postal Service money orders
             made payable to you will be available on the first business day after the day of your
             deposit.
        •    The excess over $5,525 and funds from all other check deposits will be available on
             the seventh business day after the day of your deposit. The first $225 of a day’s total
             deposit of funds from all other check deposits, however, may be available on the first
             business day after the day of your deposit.
        We will notify you if we delay your ability to withdraw funds and we will tell you when
        the funds will be available.

        Holds on other funds (check cashing)
        If we cash a check for you that is drawn on another bank, we may withhold the
        availability of a corresponding amount of funds that are already in your account. Those
        funds will be available at the time funds from the check we cash would have been
        available if you had deposited it.

        Holds on other funds (other account)
        If we accept a check for deposit that is drawn on another bank, we may make funds
        from the deposit available for withdrawal immediately but delay your ability to
        withdraw a corresponding amount of funds that you have on deposit in another account
        with us.
        The funds in the other account would then not be available until the time periods that
        are described in this Policy.




                                                                                   Case ID: 210800043
   25       Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 52 of 97
    Available balance, posting order, and overdrafts
    How do we determine your account’s available balance?




                                                                                                          Introduction
    Your account’s available balance is our most current record of the amount of money
    in your account available for your use or withdrawal. We use the available balance
    to authorize your transactions during the day (e.g., debit card purchases and ATM
    withdrawals). We also use the available balance to pay your transactions in our nightly
    processing. We calculate your available balance as follows:
    •   We start with the ending daily account (posted) balance from our prior business




                                                                                                      through arbitration
                                                                                                      Resolving disputes
        day nightly processing that includes all transactions deposited to or paid from your
        account.
    •   We subtract from this amount any holds placed on a deposit to your account and any
        holds placed due to legal process.
    •   We add pending deposits that are immediately available for your use (including cash
        deposits, electronic direct deposits, and the portion of a paper check deposit we
        make available; see “Funds availability policy” section for details).




                                                                                                      Important legal
    •   We subtract pending withdrawals that we have either authorized (such as debit




                                                                                                        information
        card purchases and ATM withdrawals) or are known to us (such as your checks and
        preauthorized automatic ACH withdrawals that we receive for payment from your
        account) but have not yet processed.
    Important note: The available balance does not reflect every transaction you have
    initiated or we previously authorized. For example, your available balance may not include
    the following:




                                                                                                      error notifications
                                                                                                       Statements and
    •   Outstanding checks and authorized withdrawals (such as recurring debit card
        transactions and ACH transactions that we have not received for payment).
    •   The final amount of a debit card purchase. For example, we may authorize a purchase
        amount prior to a tip that you add.
    •   Debit card transactions that have been previously authorized but not sent to us
        for final payment. We must release the transaction authorization hold after three
        business days (or up to 30 business days for certain types of debit or ATM card
        transactions, including car rental, cash, and international transactions) even though         responsibilities
        the transaction may be sent for payment from your account, which we must honor,                 Rights and
        at a later date.

    How do we process (post) transactions to your account?
    We process transactions each business day (Monday through Friday except federal
    holidays) during a late night process. Once we process your transaction, the results are
                                                                                                      savings accounts




    posted to your account. There are three key steps to this process. The most common
                                                                                                        Checking and




    types of transactions are processed as described below.
    First, we determine the available balance in your account (as described above)
    that can be used to pay your transactions.
    NOTE: Certain pending transactions can impact your available balance:
    • Cash deposits or transfers from another Wells Fargo account that are made AFTER
                                                                                                      banking services




      the displayed cutoff time (where the deposit was made) will be added to your
      available balance if they are made before we start our nightly process.
                                                                                                         Electronic




    • Your available balance will be reduced by pending withdrawals, such as debit card
      transactions we have authorized and must pay when they are sent to us for payment. If
      your account has insufficient funds as reflected by your available balance, the Bank may
      assess overdraft and/or non-sufficient funds (NSF) fees on transactions we pay or return
                                                                            Case ID: 210800043
                                                                                                 26
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 53 of 97
        Available balance, posting order, and overdrafts
             during nightly processing. A pending transaction will typically remain pending until we
             receive it for payment from your account, but we must release the pending transaction
             hold after three business days for most transactions. These pending transactions may
             be sent to us for payment after they have dropped from your account, but we must pay
             them when we receive them for payment. In some circumstances, previously authorized
             transactions may be paid into overdraft if other transactions or fees have reduced your
             balance before the pending transactions are sent to us for payment. To minimize the
             number of overdraft fees in these circumstances, we track transactions that reduced
             your available balance while pending and caused overdraft fees on other transactions.
             If these transactions are presented for payment within 10 business days after they
             first appeared as pending, we will waive any overdraft fees on those transactions. In
             rare circumstances, the merchant presents transactions for payment with a different
             identification code than was used when the transaction was sent for authorization and
             we are unable to match them. In those cases, you may be charged an overdraft fee if the
             transaction is paid into overdraft.
        Then, we sort your transactions into categories before we process them.
        •    First, we credit your account for deposits, including cash and check deposits and
             incoming transfers, received before the cutoff time at the location the deposit or
             transfer was made.
        •    Then, we process withdrawals/payments we have previously authorized and cannot
             return unpaid, such as debit card purchases, ATM withdrawals, account transfers, Online
             Bill Pay transactions, and teller-cashed checks. If we receive more than one of these
             transactions for payment from your account, we will generally sort and pay them based
             on the date and time you conducted the transactions. For a debit card transaction, if
             a merchant does not seek authorization from the Bank at the time of the transaction
             or you conducted the transaction more than 10 business days before we receive it
             for payment, we will use the date the transaction is received for payment from your
             account. For some transactions, such as Online Bill Pay transactions or teller-cashed
             checks, the time may be assigned by our systems and may vary from the time it was
             conducted. Multiple transactions that have the same time will be sorted and paid from
             lowest to highest dollar amount.
        •    Finally, we use your remaining funds to pay your checks and preauthorized automatic
             ACH payments (such as bills you pay by authorizing a third party to withdraw funds
             directly from your account). If there is more than one of these types of transactions, they
             will be sorted by the date and time that they are received by us. Multiple transactions
             that have the same time will be sorted and paid from lowest to highest dollar amount.
        Finally, if the available balance in your account is not enough to pay all of your
        transactions, we will take the following steps:
        •    First use Overdraft Protection (if applicable): We will transfer/advance available
             funds from a savings and/or credit account you have linked to your checking
             account for Overdraft Protection. Please see the section titled “What is Overdraft
             Protection?” in this Agreement.
        •    Then, decide whether to pay your transaction into overdraft or return it unpaid:
             At our discretion, we may pay a check or automatic payment into overdraft,
             rather than return it unpaid. This is our standard overdraft coverage. If we pay
             the transaction into overdraft, it may help you avoid additional fees that may be
             assessed by the merchant.
             Debit card transactions presented to us for payment (whether previously approved
             by us or not) will be paid into overdraft and will not be returned unpaid, even if you
             do not have sufficient funds in your account.
                                                                                  Case ID: 210800043
   27       Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 54 of 97
    Available balance, posting order, and overdrafts
    IMPORTANT INFORMATION ABOUT FEES:




                                                                                                          Introduction
    Fees may be assessed with each item paid into overdraft or returned unpaid subject to
    the following:
    •   A single Overdraft Protection Transfer or Advance Fee will be assessed when we need
        to transfer/advance funds from your linked account(s) into your checking account,
        but only if the transfer/advance covered at least one pending item, or helped you
        avoid at least one overdraft or returned item.




                                                                                                      through arbitration
                                                                                                      Resolving disputes
    •   No overdraft fee will be assessed on ATM and everyday (one-time) debit card
        transactions unless Debit Card Overdraft Service is added to your account. The
        merchant informs the Bank if a debit card transaction is a one-time or recurring
        transaction. An overdraft fee can be assessed on recurring debit card transactions
        and any other item we pay into overdraft.
    •   No overdraft or returned item (non-sufficient funds/NSF) fee will be assessed on
        items of $5 or less.




                                                                                                      Important legal
    •   If both your ending daily account balance and available balance are overdrawn by




                                                                                                        information
        $5 or less after we have processed all of your transactions, we will not assess an
        overdraft fee on the items.
    •   We limit the number of overdraft and/or returned item (non-sufficient funds/NSF)
        fees charged per business day as follows:
        - For consumer accounts, we will charge no more than three overdraft/NSF fees per
            business day (this limit is two per day for Wells Fargo Teen Checking accounts).




                                                                                                      error notifications
                                                                                                       Statements and
        - For business accounts, we will charge no more than eight overdraft/NSF fees per
          business day
    •   Any overdraft or returned item fees assessed are deducted from your account
        during the morning of the next business day following our nightly process.
    •   We will not assess overdraft fees or returned item (non-sufficient funds/NSF)
        fees for Clear Access BankingSM accounts. Merchant or payee fees may apply for

                                                                                                      responsibilities
        returned items.
    We will track transactions that reduced your available balance while pending and                    Rights and
    caused overdraft fees on other transactions. If these transactions are presented for
    payment within 10 business days after they first appeared as pending, we will waive
    any overdraft fees on those transactions. In rare circumstances, the merchant presents
    transactions for payment with a different identification code than was used when the
    transaction was sent for authorization and we are unable to match them.
                                                                                                      savings accounts
                                                                                                        Checking and




    What is Overdraft Protection?
    This is an optional service you can add to your checking account by linking up to two
    eligible accounts (one savings, one credit). We will use available funds in your linked
    account(s) to authorize or pay your transactions if you don’t have enough money in
    your checking account. A single Overdraft Protection Transfer or Advance Fee will be
    assessed any day a transfer/advance is made regardless of the number of transactions
                                                                                                      banking services




    covered or whether funds are transferred/advanced from multiple accounts. Also, we
    will not charge a fee unless the transfer/advance covered at least one pending item,
                                                                                                         Electronic




    or helped you avoid at least one overdraft or returned item. If you link two accounts,
    you may tell us which account to use first to transfer/advance funds. If you do not
    specify an order, we will first transfer funds from your linked savings account. Overdraft
    Protection is not available for all accounts. Please refer to your Fee and Information
    Schedule to determine account eligibility.
                                                                            Case ID: 210800043
                                                                                                 28
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 55 of 97
        Available balance, posting order, and overdrafts
        •    Transfers from linked eligible savings account. If the available balance in your
             savings account is $25 or more and can cover the overdraft (plus the Overdraft
             Protection Transfer Fee), we will transfer the exact amount needed or a minimum
             of $25. If the available balance in your savings account is less than either $25 or the
             amount needed, we will transfer the available balance.
        •    Advances from linked eligible consumer credit account. If the available credit in
             your credit card account is $25 or more and can cover the overdraft, we will advance
             the exact amount needed or a minimum of $25. If the available credit in your credit
             card account is less than either $25 or the amount needed, we will advance the
             available credit. Advances from an eligible linked Wells Fargo line of credit are made
             in increments of $100 or $300 (See your credit account agreement for specific
             details).
        •    Advances from linked eligible business credit account. If the available credit in your
             credit account is $25 or more and can cover the overdraft, we will advance the exact
             amount needed or a minimum of $25. If the available credit in your credit account is
             less than either $25 or the amount needed, we will advance the available credit.

        What is Debit Card Overdraft Service?
        Debit Card Overdraft Service allows Wells Fargo to approve (at our discretion) your
        ATM and everyday (one-time) debit card transaction(s) if you do not have enough
        money in your checking account or in accounts linked for Overdraft Protection at
        the time of the transaction. With this service, ATM and everyday (one-time) debit
        card transactions may be approved into overdraft at the Bank’s discretion and an
        overdraft fee may apply. If you make a covering transfer or deposit (subject to the
        Bank’s funds availability policy) by the posted cutoff time on the same business day as
        the transaction, no fees are assessed. Debit Card Overdraft Service does not apply to
        checks and other transactions such as Bill Pay, ACH, or recurring debit card transactions
        (such as utilities or health club memberships). The Bank may continue to authorize or
        pay these transactions into overdraft, at our discretion, and our standard overdraft fees
        and policies will apply.
        If Debit Card Overdraft Service is not added and there is not enough money in your
        checking account or accounts linked for Overdraft Protection, your ATM and everyday
        (one-time) debit card transactions will be declined, and there are no fees for declined
        transactions. If the service is not added and your ATM or everyday (one-time) debit card
        transaction creates a negative balance during posting, there will not be an overdraft fee.
        Debit Card Overdraft Service is automatically added to eligible business accounts at
        account opening.
        You can add or remove the service at any time. Debit Card Overdraft Service is not
        available for certain accounts, such as Wells Fargo Clear Access BankingSM accounts,
        Teen CheckingSM accounts, Opportunity Checking® accounts, IOLTA/RETA accounts,
        accounts for government entities, or savings accounts. Debit Card Overdraft Service
        is a discretionary service that may be removed by the Bank for a variety of reasons
        including excessive overdrafts or returned items, as determined by the Bank.

        What is Wells Fargo’s standard overdraft coverage?
        Our standard overdraft coverage is when, at our discretion, we pay items, such as
        checks or automatic payments (e.g., ACH payments) into overdraft rather than
        returning them unpaid. You can request to remove our standard overdraft coverage
        from your account by speaking to a banker.
                                                                                Case ID: 210800043
   29       Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 56 of 97
    Available balance, posting order, and overdrafts
    Important: If standard overdraft coverage is removed from your account, the following
    will apply if you do not have enough money in your checking account or in accounts




                                                                                                             Introduction
    linked for Overdraft Protection to cover a transaction:
    •   We will return your checks and automatic payments (such as ACH payments) and
        assess a returned item fee (non-sufficient funds/NSF) and you could be assessed
        additional fees by merchants.
    •   We will not authorize ATM and everyday (one-time) debit card transactions into
        overdraft. If your account is enrolled in Debit Card Overdraft Service, the service will




                                                                                                         through arbitration
                                                                                                         Resolving disputes
        also be removed.
    •   We will not authorize certain transactions (such as cashed checks, recurring
        debit card transactions, or Bill Pay transactions) into overdraft. However, if these
        transactions are authorized when your account has enough money but are later
        presented for payment when your account does not have enough money, we will pay
        the transaction into overdraft and charge an overdraft fee.




                                                                                                         Important legal
    Important: Standard overdraft coverage does not apply to Clear Access BankingSM




                                                                                                           information
    accounts (i.e., the account will function as though standard overdraft coverage has been
    removed from the account).

    What is Overdraft Rewind? (Consumer accounts only)
    This is an automatic feature of your checking account. On the morning of every business
    day, we will review your account to determine if you received an electronic direct deposit




                                                                                                         error notifications
    to your account after the prior business day’s nightly processing. If an electronic direct




                                                                                                          Statements and
    deposit is received by 9:00 a.m. local time, we will calculate a new account balance that
    includes the pending direct deposit(s), less any pending debits. If this newly calculated
    balance covers transactions that resulted in overdraft or non-sufficient funds (NSF)
    fees, or Overdraft Protection Transfer or Advance fees, during the prior business day’s
    nightly processing, we will waive or refund those fees. We may also reverse returned
    item (non-sufficient funds/NSF) decisions. Please note that Overdraft Rewind does not
    reverse the transfer or advance of funds from a linked Overdraft Protection account. 9:00
                                                                                                         responsibilities
    a.m. local time is based on where your account is located, which is noted on your account
    statement. The bank receives most direct deposits through the ACH network before 9:00                  Rights and
    a.m. Direct deposits include your salary, pension, Social Security, or other regular monthly
    income electronically deposited through the Automated Clearing House (ACH) network
    by your employer or an outside agency. Other deposits, such as check(s), cash or account
    transfers received after our nightly account processing, are not included for purposes of
    Overdraft Rewind.
                                                                                                         savings accounts
                                                                                                           Checking and




    What is your responsibility if your account has an overdraft?
    If you have an overdraft on your account (including transactions we have paid on your
    behalf into overdraft, plus any fees), you must promptly make a deposit or transfer to
    return your account to a positive balance.
    If you fail to bring your checking account to a positive balance, we will close your account.
    Also we may report you to consumer reporting agencies and initiate collection efforts.
                                                                                                         banking services




    You agree to reimburse us for the costs and expenses (including attorney’s fees and
                                                                                                            Electronic




    expenses) we incur. The Bank may close your account due to excessive overdrafts, as
    determined by the Bank.



                                                                               Case ID: 210800043
                                                                                                    30
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 57 of 97
        Setoff and security interest
        Are we allowed to use the funds in your accounts to cover debts
        you owe us?
        Yes, we have the right to apply funds in your accounts to any debt you owe us. This
        is known as setoff. When we setoff a debt you owe us, we reduce the funds in your
        accounts by the amount of the debt. We are not required to give you any prior notice to
        exercise our right of setoff.
        A debt includes any amount you owe individually or together with someone else both
        now or in the future. It includes any overdrafts and our fees. We may setoff for any
        debt you owe us that is due or past due as allowed by the laws governing your account.
        If your account is a joint account, we may setoff funds in it to pay the debt of any joint
        owner.
        If your account is an unmatured time account (or CD), then we may deduct an early
        withdrawal penalty. This may be due as a result of our having exercised our right of
        setoff.
        Consumer accounts only: Our right to setoff extends to any federal or state benefit
        payments (including Social Security benefits) deposited to your account. If we are
        obligated to return any federal or state benefits deposited to your accounts after you
        are no longer eligible to receive them, we have the right to setoff against any of your
        accounts to recover the payments you were ineligible to receive. Our right of setoff will
        not apply if it would invalidate the tax-deferred status of any tax-deferred retirement
        account (e.g., a SEP or an IRA) you maintain with us.

        Do you grant us a security interest in your accounts with us?
        Yes, to ensure you pay us all amounts you owe us under the Agreement (e.g., overdrafts
        and fees), you grant us a lien on and security interest in each account you maintain with
        us. By opening and maintaining each account with us, you consent to our asserting our
        security interest should the laws governing the Agreement require your consent. Our
        rights under this security interest are in addition to and apart from any other rights
        under any other security interest you may have granted to us.

        Can you grant any one else a security interest in your accounts
        with us?
        No, you may not grant a security interest in, transfer, or assign your accounts to anyone
        other than us without our written agreement.




                                                                              Case ID: 210800043
   31    Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 58 of 97
    Business account fees and expenses; earnings
    allowance




                                                                                                          Introduction
    Are you obligated to pay our fees?
    Yes, you agree to pay us in accordance with our Business Schedule.

    How do you pay our fees and expenses?
    We are permitted to either directly debit your account or invoice you for our fees and
    expenses and taxes incurred in connection with your account and any service. If the




                                                                                                      through arbitration
                                                                                                      Resolving disputes
    available funds in your account are not sufficient to cover the debit, we may create an
    overdraft on your account.
    You agree to promptly pay any invoiced amount. We may assess finance charges on
    any invoiced amounts that are not paid within 45 days of the date of invoice. Finance
    charges are assessed at a rate of 1.5% per month (18% per annum) or the highest
    amount permitted by the laws governing your account, whichever is less. Charges
    for accrued and unpaid interest and previously assessed finance charges will not be
    included when calculating finance charges. Payments and other reductions of amounts




                                                                                                      Important legal
                                                                                                        information
    owed will be applied first to that portion of outstanding fees attributable to charges for
    accrued and unpaid interest and previously assessed finance charges, then to other fees
    and charges.

    If an earnings allowance accrues on your account, do we apply it
    to our fees and expenses?




                                                                                                      error notifications
    Yes, if an earnings allowance accrues on your account, we will periodically apply your




                                                                                                       Statements and
    accrued earnings allowance to eligible fees and expenses (unless we otherwise indicate
    in writing). If both an earnings allowance and interest accrue on your account, the
    interest will be shown as an offset to the earnings allowance on the client analysis
    statement for your account. If your earnings allowance exceeds the total eligible fees
    assessed to your account in a given statement period, the excess credit is not paid to
    you, nor is it carried forward to the following statement period. We may debit your
    account (or any other account you maintain with us) or invoice you for any amount by
                                                                                                      responsibilities
    which the fees and expenses exceed the accrued earnings allowance on your account.
                                                                                                        Rights and
                                                                                                      savings accounts
                                                                                                        Checking and
                                                                                                      banking services
                                                                                                         Electronic




                                                                            Case ID: 210800043
                                                                                                 32
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 59 of 97
        Additional rules for checks and withdrawals
        What identification do we request to cash checks presented
        over-the-counter by a non-customer?
        For these transactions, we require acceptable identification, which can include a
        fingerprint from the person presenting your check. We may not honor the check if the
        person refuses to provide us with requested identification.

        Are there special rules if you want to make a large cash
        withdrawal or deposit?
        We may place reasonable restrictions on a large cash withdrawal. These restrictions include
        requiring you to provide reasonable advance notice to ensure we have sufficient cash on
        hand. We do not have any obligation to provide security if you make a large cash withdrawal.
        If you want to deposit cash for a very large amount, we have the right to require you to
        provide adequate security or exercise other options to mitigate possible risks.
        Are we responsible for reviewing checks for multiple signatures?
        No, we are not responsible for reviewing your checks or other transactions for multiple
        signatures. We do not support multiple signature requirements and we may act on the
        instructions of any one authorized signer on your account. If you have indicated that
        more than one signature is required to transact on your account, you acknowledge and
        agree that such requirements are for your own control purposes only, and we will not be
        liable if a check or other transaction is processed without multiple signatures.

        Are we required to honor dates and special instructions written
        on checks?
        No, we may, without inquiry or liability, pay a check even if it
        • Has special written instructions indicating we should refuse payment (e.g., “void
            after 30 days” or “void over $100”);
        • Is stale-dated (i.e., the check’s date is more than six months in the past), even if we
            are aware of the check’s date;
        • Is post-dated (i.e., the check’s date is in the future); or
        • Is not dated.
        We may also pay the amount encoded on your check in U.S. dollars, even if you wrote
        the check in a foreign currency or made a notation on the check’s face to pay it in a
        foreign currency. The encoded amount is in the line along the bottom edge of the front
        of the check where the account number is printed.

        Can you use a facsimile or mechanical signature?
        Yes, if you use a facsimile or mechanical signature (including a stamp), any check
        appearing to use your facsimile or mechanical signature will be treated as if you had
        actually signed it.
        Are we liable for paying a consumer ACH debit entry on your
        account? (Business accounts only)
        No, under the ACH operating rules, certain types of ACH debit entries may only be presented
        on a consumer account (each, a consumer ACH debit entry). We will have no obligation to
        pay, and no liability for paying, any consumer ACH debit entry on your account.

        What is the acceptable form for your checks?
        Your checks must meet our standards, including paper stock, dimensions, and other
        industry standards. Your checks must include our name and address, as provided by
        us. Certain check features, such as security features, may impair the quality of a check
        image that we or a third party create.
        We reserve the right to refuse checks that do not meet these standards or cannot be
        processed or imaged using our equipment. We are not responsible for losses that result
        from your failure to follow our check standards.                        Case ID: 210800043
   33    Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 60 of 97
    Additional rules for checks and withdrawals
    Electronic check indemnifications




                                                                                                          Introduction
    What warranties do we provide for electronic checks and electronic returned checks?
    An “electronic check” and an “electronic returned check” mean an electronic image of,
    and electronic information derived from, a paper check or a paper returned check. When
    we transfer or present an electronic check or electronic returned check, we provide the
    following warranties:
    • Image Quality Warranty: We guarantee that the electronic image of a check




                                                                                                      through arbitration
                                                                                                      Resolving disputes
        accurately represents all of the information on the front of the check as of the time
        that the original check is truncated, and the electronic information includes an
        accurate record of all MICR line information required for a substitute check and the
        amount of a check.
    • No Double Debit Warranty: We guarantee that the warrantee will not receive a
        presentment of or otherwise be charged for an electronic check, an electronic
        returned check, the original check, a substitute check, or a paper or electronic
        representation of a paper substitute check, in a way that the warrantee will be asked
        to make payment on a check that it has already paid.




                                                                                                      Important legal
                                                                                                        information
    When we transfer an electronic check for collection or payment, we make the image
    quality warranty and the no double debit warranty to the transferee bank, any
    subsequent collecting bank, the paying bank, and the drawer. When we transfer an
    electronic returned check for return, we make the image quality warranty and the no
    double debit warranty to the transferee returning bank, the depository bank, and the
    owner.




                                                                                                      error notifications
    What indemnities are applicable to electronic checks and electronic returned




                                                                                                       Statements and
    checks?
    You will indemnify, defend, and hold us harmless from and against all liabilities,
    damages, claims, obligations, demands, charges, costs, or expenses (including
    reasonable fees and disbursements of legal counsel and accountants) awarded against
    or incurred or suffered (collectively, “losses and liabilities”) by us arising directly
    or indirectly from or related to the transfer or return of an electronic check or an
    electronic returned check on your behalf. If we suffer any losses or liabilities arising
    directly or indirectly from or related to a breach of either the image quality warranty or
    the no double debit warranty, you will reimburse us and not hold us responsible or liable.        responsibilities
                                                                                                        Rights and
    What indemnities are applicable to remote deposit capture services (including
    Wells Fargo Mobile Deposit Service)?
    By providing a remote deposit capture service to you, we are required to indemnify and
    reimburse a depository bank that accepts the original check from which an electronic
    check is created for losses incurred by that depository bank if the loss is due to the
    check having already been paid. If we suffer any losses or liabilities arising directly or
                                                                                                      savings accounts
                                                                                                        Checking and




    indirectly from or related to that type of depository bank indemnity obligation, you will
    indemnify and reimburse us and not hold us responsible or liable.
    What indemnities are applicable to electronically created items?
    If we transfer or present an “electronically created item” and receive settlement or
    other consideration for it, we are required to indemnify and reimburse each transferee
    bank, any subsequent collecting bank, the paying bank, and any subsequent returning
    bank against losses that result from the fact that:
                                                                                                      banking services




    • The electronic image or electronic information of the electronically created item is
                                                                                                         Electronic




        not derived from a paper check;
    • The person on whose account the electronically created item is drawn did not
        authorize the issuance of the electronically created item or to the payee stated on
        the item; or

                                                                            Case ID: 210800043
                                                                                                 34
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 61 of 97
        Additional rules for checks and withdrawals
        •    A person receives a transfer, presentment, or return of, or otherwise is charged
             for an electronically created item in such a way that the person is asked to make
             payment based on an item or check it has paid.
        If we suffer any losses or liabilities arising directly or indirectly from or related to
        that type of electronically created item indemnity obligation, you will indemnify and
        reimburse us and not hold us responsible or liable.

        Issuing stop payment orders and post-dated checks
        How do you stop payment on a check?
        You may request a stop payment on your check in a time and manner allowing us a
        reasonable opportunity to act on it before we pay, cash, or otherwise become obligated
        to pay your check. You can request a stop payment of a check through wellsfargo.com,
        by phone, or by visiting your local branch and speaking with a banker.
        Each stop payment order is subject to our verification that we have not already paid or
        otherwise become obligated to pay the check from your account. This verification may
        occur after we accept your stop payment order.
        In order to issue a stop payment order on a check, we request the following information:
        •    Your bank account number,
        •    The check number or range of numbers,
        •    The check amount or amounts,
        •    The payee(s) name(s), and
        •    The date on the check.
        We are not responsible for stopping payment on a check if you provide incorrect or
        incomplete information about the check.

        What is the effective period for a stop payment order?
        A stop payment order on a check is valid for six months. We may pay a check once a
        stop payment order expires. You must place a new stop payment order if you do not
        want it to expire. We treat each renewal as a new stop payment order. We will charge
        you for each stop payment order you place (as well as each renewal).

        How do you cancel a stop payment order?
        To cancel a stop payment order, we must receive your request in a time and manner
        allowing us a reasonable opportunity to act on it.

        Are you still responsible if we accept a stop payment on a check?
        Yes, even if we return a check unpaid due to a stop payment order, you may still be liable
        to the holder (e.g., a check cashing business) of the check.

        How can you prevent a post-dated check from being paid before
        its date?
        A post-dated check is a check you issue with a date in the future. We are not responsible
        for waiting to honor the check until that date, unless you instruct us to do so through
        the use of a stop payment order for the check. You are responsible for notifying us to
        cancel the stop payment order when you are ready to have that check paid.

                                                                               Case ID: 210800043
   35       Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 62 of 97
    Issuing stop payment orders and post-dated checks
    Can you stop payment on a purchase transaction?




                                                                                                             Introduction
    No, unless the purchase is a preauthorized electronic fund transfer from a consumer
    account.

    Can you stop payment on a preauthorized electronic fund
    transfer?
    Yes, if your account is a consumer account. For specific information on your stop




                                                                                                         through arbitration
                                                                                                         Resolving disputes
    payment rights for preauthorized electronic fund transfers, see the “Handling
    preauthorized payments” section in the “Electronic fund transfer services” part of this
    Agreement.
    • Right to stop payment: If you have told us in advance to make regular (recurring)
       payments out of your account, you can stop any of these payments. Here’s how:

        Call Wells Fargo Phone Bank at 1-800-869-3557, or write to us at Wells Fargo,
        Customer Correspondence, P.O. Box 6995, Portland, OR, 97228-6995, in time




                                                                                                         Important legal
        for us to receive your request three business days or more before the payment is




                                                                                                           information
        scheduled. If you call, we may also require you to put your request in writing and
        get it to us within 14 days after you call. There is no fee to stop a regular (recurring)
        payment using the debit card.
    •   Notice of varying amounts: If the amount of these regular (recurring) payments
        vary, the party you are going to pay should tell you 10 days before each payment,
        when it will be made and how much it will be. (The party you are going to pay may
        allow you to choose to get this notice only when the payment would differ by more




                                                                                                         error notifications
                                                                                                          Statements and
        than a certain amount from the previous payment, or when the amount would fall
        outside certain limits that you set.)
    •   Liability for failure to stop payment: If you order us to stop one of these payments
        three business days or more before the transfer is scheduled, and we do not do so,
        we will pay for your losses or damages.



                                                                                                         responsibilities
                                                                                                           Rights and
                                                                                                         savings accounts
                                                                                                           Checking and
                                                                                                         banking services
                                                                                                            Electronic




                                                                               Case ID: 210800043
                                                                                                    36
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 63 of 97
        Your account ownership
        How do we treat accounts owned by more than one customer?
        You can choose to open an account with one or more other individuals. In these
        instances, we will treat all account holders as joint tenants with right of survivorship
        unless
        •    State laws governing your account require other treatment, or
        •    We otherwise agree with you in writing that the account is owned in some other
             capacity.
        Regardless of the form of ownership, we will not maintain a separate record of each
        co-owner’s interest in the account. We may act on instructions from any co-owner
        (or a co-owner’s representative) without another account co-owner’s consent. These
        actions include instructions to withdraw or transfer funds, make payments, or close the
        account.

        Are we allowed to pay money requested by a co-owner?
        Yes, we may pay any money in the account requested by any co-owner (or a co-owner’s
        legal representative), regardless of
        •    Their contributions,
        •    Whether any other co-owner is incapacitated or deceased, or
        •    Whether the account includes a right of survivorship.

        What are the forms of account ownership?
        Joint tenants with right of survivorship: When you hold an account as joint tenants
        with right of survivorship and one of you dies, the account is payable to the surviving
        co-owner, subject to our rights under the Agreement.
        Tenants-in-common: When you hold an account as tenants-in-common, it is payable
        upon the death of an accountholder, in whole or in part, to any surviving co-owner on
        the account or the deceased owner’s personal representative, heirs, or successors. This
        is subject to our rights under the Agreement.
        Community property: An account is held as community property when spouses have
        equal and undivided interests in the account during their lifetimes. When one spouse
        dies, ownership does not automatically pass to the survivor; rather, the deceased
        spouse can pass his or her interest by will. Community property does not exist in every
        state. Ask your legal adviser to understand if this applies to your account.

        What is a Pay On Death (POD) account?
        A POD account is payable on your death (or the death of the last surviving co-owner)
        to one or more payees named in the title of the account. When the title of an account
        includes language like “in trust for (ITF),” “transfer on death (TOD),” or similar language,
        the account is treated as a pay on death account.
        You may change, add, or remove the name of any payee or beneficiary anytime by
        providing us with proper written notice. Generally, the payee or beneficiary must survive
        all owners in order to receive their share of funds from a POD account.

        How are Uniform Transfers/Gifts to Minors Act accounts
        handled? (Consumer accounts only)
        An account established under a state’s Uniform Transfers/Gifts to Minors Act is
        controlled by the custodian (or a successor custodian). Only the named custodian
                                                                               Case ID: 210800043
   37       Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 64 of 97
    Your account ownership
    (or successor custodian) is authorized to instruct us regarding the account. We
    may, however, disclose information about the account to the minor or the minor’s




                                                                                                             Introduction
    representative. When the minor reaches the applicable age of majority, we may pay the
    funds on deposit in the account to the minor in accordance with the custodian’s duty
    without waiting for instructions from the custodian.

    How are minor by accounts handled? (Consumer accounts only)
    One or more adults may open an account in the name of a minor by the adult(s) as allowed




                                                                                                         through arbitration
                                                                                                         Resolving disputes
    by the laws governing your account. An adult is a person who has reached the age of
    majority. Beneficial ownership of the funds deposited in the account vests exclusively
    in the minor. The adult has exclusive control of the account until the minor reaches the
    applicable age of majority.
    If there is more than one adult, each may act independently. We are not obligated to
    inquire about the use of the funds. When the minor reaches the age of majority, we may
    act on the instructions of either the minor or the adult. If the adult (or the last of the




                                                                                                         Important legal
    adults to survive) dies before the minor reaches the age of majority, we may transfer




                                                                                                           information
    the funds to the custodian according to the applicable Uniform Transfers/Gifts to
    Minors Act.

    Can you transfer ownership of your account?
    No assignment will be valid or binding on us, and we will not be considered to have
    knowledge of it, until we consent and the assignment is noted in our records. However, by




                                                                                                         error notifications
    noting the assignment, we do not have any responsibility to assure that the assignment is




                                                                                                          Statements and
    valid. Any permitted assignment of your account is subject to our setoff rights.
    The Agreement is binding on your personal representatives, executors, administrators,
    and successors, as well as our successors and assigns.

    What if an owner does not sign account documentation?
    The failure of a customer identified in our records as an owner or a co-owner of an
    account to sign the account application or other account-related documentation does
                                                                                                         responsibilities
                                                                                                           Rights and
    not prevent us, in our sole discretion, from treating the customer as an owner or a co-
    owner of that account; we are not liable to anyone as a result.

    Are all joint owners responsible for liabilities on your account?
    Yes, all joint owners are each individually and jointly responsible for any overdraft on your
    account, regardless of who caused or benefited from the overdraft. If there is a setoff, an
                                                                                                         savings accounts




    enforcement of our security interest in your account, or legal action (such as a third party
                                                                                                           Checking and




    garnishment, seizure, forfeiture, or tax levy) affecting any co-owner, we have the right
    to treat all funds in the account as belonging to the customer against whom the setoff,
    enforcement of the security interest, or other legal action is directed. If your account
    is closed for unsatisfactory handling, we may report all joint owners to the consumer
    reporting agencies.

    What happens upon the death or incompetence of an authorized
                                                                                                         banking services




    signer or account owner?
                                                                                                            Electronic




    Please notify us promptly if you learn or suspect an account owner or signer has been
    declared incompetent by a court or a legal authority, or has died. When we receive
    proper notice, we may
    •   Freeze the account until we receive documents verifying the incapacity or death and
        instructions regarding the funds remaining in the account,
                                                                               Case ID: 210800043
                                                                                                    38
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 65 of 97
        Your account ownership
        •    Pay (without inquiring) any item authorized by the account owner before being
             declared incompetent or dying,
        •    Return or reverse deposits made to the account, and
        •    Apply funds in the account to any debt the account owner owes us before
             recognizing the rights to any remaining funds of a surviving joint owner or other
             person.
        If we are liable for taxes or reclamation claims from a federal or state government
        agency because we released funds in an account after the account owner’s death, the
        account owner’s estate is responsible for reimbursing us for those amounts.
        Individual and Sole Proprietors Only
        If an account owner dies or is declared incompetent we may accept and comply with
        court orders and legal documents, and take direction from affiants or court appointed
        personal representatives, guardians, or conservators from your state of residence,
        even if different than where your account was opened except as otherwise required by
        applicable law or court order. We may require additional documentation be provided to
        us before complying with the directions given by affiants or court appointed personal
        representatives, guardians, or conservators. We reserve the right to require U.S. court
        documents for customers who reside outside of the U.S. at time of incompetence or
        death.
        For business owners
        Upon notification to the Bank of the death or incompetence of a business owner, the
        business entity will provide documentation evidencing any change in the ownership or
        control of the entity following applicable legal formalities.




                                                                              Case ID: 210800043
   39       Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 66 of 97
    Interest earning accounts
    What interest rate applies to an interest earning account?




                                                                                                          Introduction
    When you open an interest earning account, we will provide a rate sheet listing the
    current interest rate and Annual Percentage Yield (APY) for your account. Interest earning
    accounts earn interest at a variable rate, except Time Accounts (CDs). We may change the
    interest rate for variable-rate accounts at any time. The interest rate may vary depending
    on your daily balances (tiered-rate account). We may pay the same interest rate on more
    than one tier. The tiers and corresponding interest rates are disclosed in the rate sheet.




                                                                                                      through arbitration
                                                                                                      Resolving disputes
    How do we calculate earned interest?
    We calculate interest using the daily collected balance method. This method applies
    a daily periodic rate to the collected balance in your account each day. Interest is
    calculated using a 365-day year, unless otherwise noted for business accounts in the
    Business Schedule.

    When does a deposit begin accruing interest?




                                                                                                      Important legal
    Cash deposits begin accruing interest the same business day a deposit is credited to




                                                                                                        information
    your account. If you deposit an item such as a check, interest begins accruing on the
    business day we receive credit for the item.

    Is interest compounded and when is it credited?
    Interest will compound on a daily basis. For checking and savings accounts, interest will
    be credited on a monthly basis.




                                                                                                      error notifications
                                                                                                       Statements and
    What is the difference between Annual Percentage Yield (APY)
    and Annual Percentage Yield Earned (APYE)?
    The Annual Percentage Yield (APY) is a percentage rate reflecting the total amount
    of interest paid on an account based on the interest rate and the frequency of
    compounding for a 365-day period. The Annual Percentage Yield Earned (APYE) is an
    annualized rate that reflects the relationship between the amount of interest actually
                                                                                                      responsibilities
    earned on your account during the statement period and the average daily balance in
                                                                                                        Rights and
    the account for the statement period.
    We calculate both your APY and APYE according to formulas established by federal
    regulations. The APYE appears on your account statement.

    Do we have the right to require notice of withdrawal from your
    savings account?
                                                                                                      savings accounts
                                                                                                        Checking and




    Yes, we have the right to require seven days written notice before you withdraw money
    from your savings account.

    Are we required to obtain a tax identification number certification?
    Yes. U.S. Treasury regulations require us to determine the tax residency of all customers
    and payees who could receive income that is reportable to the IRS. We accomplish
    this by obtaining a Form W-9 from all U.S. taxpayers and a type of Form W-8 from all
                                                                                                      banking services




    foreign customers.
                                                                                                         Electronic




    •   For U.S. taxpayers, the Form W-9 is how we document U.S. tax residency and obtain
        a Taxpayer Identification Number (“TIN”) from the primary owner of each account
        that earns reportable income. Until we have received the Form W-9 and TIN, we are
        required to apply backup withholding to that income.

                                                                            Case ID: 210800043
                                                                                                 40
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 67 of 97
        Interest earning accounts
        •    Foreign individuals (also referred to as nonresident aliens) and foreign entities
             document their tax residency outside the U.S. on the applicable type of Form W-8.
             That form also allows us to apply the correct withholding rate or exemption to
             your income earned in the U.S. If you do not provide a valid type of Form W-8, we
             are required to apply the 30% withholding rate, or in some cases, presume you are
             an uncertified U.S. taxpayer subject to backup withholding on all income and gross
             proceeds regardless of whether or not it is U.S. sourced.
        •    Accounts jointly owned by at least one foreign individual or entity must provide a
             Form W-8 or Form W-9 for all of the joint owners.
        •    Foreign individuals provide a Form W-8BEN. Foreign entities that are the beneficial
             owner of the income provide a Form W-8BEN-E unless they can make a special
             withholding exemption claim and instead provide either a Form W-8EXP or Form
             W-8ECI.
        •    Entities that act as intermediaries or flow-through entities receiving income on
             behalf of someone else provide a Form W-8IMY. In some cases, that Form W-8IMY
             must also include a withholding statement that allocates the income to each of
             the beneficial owners and copies of the tax certification documentation for those
             underlying beneficial owners.
        If you own your account as an individual or sole proprietor, upon your death, we must be
        provided with the estate’s or successor’s IRS Form W-9 or Form W-8. If these are not
        provided, we may either refuse to pay interest earned on your account from the date
        of your death or apply backup withholding on the income earned after the date of your
        death.




                                                                              Case ID: 210800043
   41       Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 68 of 97
    Time Accounts (CDs)
    What are Time Accounts?




                                                                                                         Introduction
    Time Accounts (CDs) are payable at the expiration of a specified term, no less than
    seven calendar days after the date of deposit. We may also refer to a Time Account
    as a CD or a Certificate of Deposit, even though we do not issue a paper certificate
    when opening the account or require a paper certificate to close the account. The CD’s
    maturity date is the last day of the term for the CD. The maturity date is printed on
    your receipt.




                                                                                                     through arbitration
                                                                                                     Resolving disputes
    When can you withdraw funds from your CD?
    You may withdraw funds from your CD on the maturity date without a penalty. You
    may also generally withdraw funds without a penalty within the seven calendar days
    after the maturity date (grace period). You may be charged a penalty if you make a
    withdrawal at any other time. See the “Time Accounts (CDs)” section of the Consumer
    Schedule or the Business Schedule, as applicable, for details.

    Can you deposit additional funds into your CD?




                                                                                                     Important legal
                                                                                                       information
    You can only deposit additional funds during the grace period.

    Will your Annual Percentage Yield (APY) change if you withdraw
    interest before maturity?
    The APY we disclose to you assumes the interest you earn will remain on deposit until
    your CD matures. If you withdraw your earned interest before maturity, your account




                                                                                                     error notifications
                                                                                                      Statements and
    will earn less interest over time and the actual APY will be less than the disclosed APY.

    How does your CD renew?
    Your CD will automatically renew at maturity
    •   Typically for a like term unless we inform you prior to maturity of a different term;
        and
    •   At our standard interest rate in effect on the maturity date for a new CD of the same
        term and amount, unless we have notified you otherwise.                                      responsibilities
                                                                                                       Rights and
                                                                                                     savings accounts
                                                                                                       Checking and
                                                                                                     banking services
                                                                                                        Electronic




                                                                             Case ID: 210800043
                                                                                                42
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 69 of 97
        Debit cards and ATM cards
        This part describes ways to use services for your account using a card. Some
        services may not be available at all locations. We may require you to sign additional
        documentation to obtain a debit or ATM card. You will receive terms and conditions
        applicable to your card when you receive the card. In the event of a conflict between
        the terms and conditions and the Agreement, the terms and conditions will control.
        Additional disclosures applicable to these services are provided in the Consumer
        Schedule or Business Schedule, as applicable.

        Issuance of a card and Personal Identification Number (PIN)
        We may issue a card to each account owner to access your accounts. If you do not select a
        PIN when you request your card, we will send a randomly selected PIN.
        If you would like a PIN for authentication purposes but do not request a debit or ATM
        card, we can provide a PIN issued only for authentication purposes. This PIN can only be
        used for authentication and cannot be used for purchase transactions or ATM access.

        Protection of card and PIN
        You should securely protect your card and PIN from loss or theft. Each cardholder
        must have his or her own unique PIN for the card and is responsible for maintaining
        confidentiality of the PIN. Memorize the PIN. Never write the PIN on the card or share it
        with anyone, including our employees. Never allow anyone else to use the card or PIN. If
        the card or PIN is given to another person, the account owner will be responsible for all
        transactions made by that person or anyone else to whom that person gives the card or
        PIN. Notify us immediately if the card is lost or stolen, or is no longer secure.

        Instant issue debit card
        The instant issue debit card is a temporary debit card. We will deactivate the instant issue
        debit card either when you activate your permanent debit card or 30 days after we issue
        your temporary debit card, whichever is sooner. If a new or replacement permanent debit
        card was not requested, your temporary debit card will terminate in 30 days.

        Wells Fargo ATMs in Assisted-Service mode
        Some Wells Fargo ATMs in branches can operate in Assisted-Service mode during
        branch hours. When in Assisted-Service mode, the ATM screen’s main menu will display
        an “I need assistance” option. If you are a consumer customer, your card’s daily ATM
        withdrawal limit may not apply, and you may be able to access and perform transactions
        on some of your consumer deposit accounts that are not linked to your card. If you
        are a business customer, your card’s daily ATM withdrawal limit may not apply. Note: if
        you are accessing the ATM in Assisted-Service mode (a) using an ATM access code, see
        “ATM Access Codes” for more details, or (b) using a mobile device, see “Using your card
        through a mobile device” for more details.

        Linking accounts for card access and designating primary account
        Linking lets you add accounts you own (e.g., checking, savings) to a debit or ATM
        card, giving you access to make transactions on multiple accounts with one card at
        Wells Fargo ATMs. At most Wells Fargo ATMs, you only have access to accounts linked
        to your card. When a Wells Fargo ATM is in Assisted-Service mode, however, and if you
        are a consumer customer you may be able to use your consumer card to access and
        perform transactions on your consumer accounts that are not linked to your card.
        If you link only one account of a single type (e.g., checking or savings accounts) to
        the card, that linked account is automatically designated as the primary account
                                                                               Case ID: 210800043
   43    Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 70 of 97
    Debit cards and ATM cards
    for purposes of electronic fund transfer services. The primary linked account for a
    consumer debit card must be an eligible consumer checking account. The primary linked




                                                                                                               Introduction
    account for a business debit card must be an eligible business checking account. The
    money for purchases and payments made with your card is deducted from the primary
    linked account. Cash withdrawals using a card at a participating non-Wells Fargo
    ATM are deducted from the primary checking or savings account. Note: Not all ATM
    operators support display of more than one type of account.
    If you link more than one account of a single type to the card, you may designate a




                                                                                                           through arbitration
                                                                                                           Resolving disputes
    primary account and other accounts. If you do not designate a primary linked account, the
    first account of that type linked to your card is considered the primary linked account. If a
    primary account linked to the card is closed or delinked for any reason, we will designate
    another linked account (if applicable) as the new primary linked account. If this linked
    account is a savings account and there are no other eligible checking accounts to be linked
    as primary checking, your debit card will be closed and you can request an ATM card.
    [Note: for Wells Fargo campus debit cards with school access functionality, your banking
    access will be closed but your card can still be used for school access functionality]. We will




                                                                                                           Important legal
                                                                                                             information
    determine the number and type of accounts you can link to your card.
    Using a card to access linked credit card and line of credit accounts
    at ATMs
    If you link your Wells Fargo credit card account or eligible line of credit account (linked
    credit account) to your debit/ATM card, you may use the card to access the linked credit
    account at any Wells Fargo ATM. You can use the card to obtain cash or transfer funds from




                                                                                                           error notifications
                                                                                                            Statements and
    the linked credit account, as long as the linked credit account is in good standing and has
    available credit. Cash withdrawals and transfers of funds from your linked credit account
    are treated as cash advances. Each of these transactions is subject to the provisions of the
    applicable credit card account agreement or line of credit account agreement, including
    daily limits and cash advance fees.
    You must notify us in case of errors or questions about your Wells Fargo credit card
    bill. If you think your bill is wrong or if you need more information about a transaction
    on your bill, write to us at Wells Fargo Card Services, P.O. Box 522, Des Moines, IA,                  responsibilities
    50302-9907. You also may call us at the telephone number listed on your account                          Rights and
    statement. However, you must write to us to preserve your billing rights. Please consult
    your applicable credit account agreement for complete information on the terms and
    conditions applicable to your linked credit account, including the rules related to cash
    advances from, and payments to, your linked credit accounts.

    Using your card
                                                                                                           savings accounts
                                                                                                             Checking and




    The tables (on pages 45 and 46) show how you can use your card to make purchases and
    payments, make transfers, use ATMs, and other services.
    Using your card can include using your physical card, accessing your card by using it
    through a mobile device, or via an ATM access code, as noted in the chart on page 45.
    Note: Some services described on pages 45 and 46 may not be available at all ATMs or
    merchants.
                                                                                                           banking services
                                                                                                              Electronic




                                                                                Case ID: 210800043
                                                                                                      44
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 71 of 97
        Debit cards and ATM cards
                                           To purchase or pay
        Actions                                                   Debit   ATM      Business
                                                                  card    card1   deposit card
        At merchants who accept payments through a                  √       √
        network in which we participate (e.g., Visa® and
        MasterCard®)
        Pay bills directly to merchants or other providers          √
        with your card, or through a mobile device at
        merchants who accept mobile payments
        Request cash back when making a purchase with               √       √
        your PIN at merchants who offer this service (only
        available when using your physical card)
        Through a mobile device at merchants who accept             √
        mobile payments (see “Using your card through a
        mobile device” for more details)
        Choose whether and how you receive a receipt at             √       √
        the time you use your card at a merchant terminal.

                                          At Wells Fargo ATMs
        Actions                                                   Debit   ATM      Business
                                                                  card    card    deposit card
        View your account balances                                  √       √
        Withdraw cash                                               √       √
        Make deposits to your accounts                              √       √          √2
        Transfer funds between your accounts                        √       √
        Transfer funds from your eligible Wells Fargo credit        √       √
        accounts to your checking or savings accounts3
        Make payments to your eligible Wells Fargo credit           √       √
        card accounts
        Get a statement of the last 10 transactions4                √       √
        Get a statement of the balances of your accounts     4
                                                                    √       √
        Choose how you want to receive your ATM                     √       √          √5
        receipt: printed, emailed to the address on file
        or to your Wells Fargo Online secure inbox, for
        consumer cards, to your mobile phone number on
        file (availability may be affected by your mobile
        carrier’s coverage area, and your mobile carrier
        message and data rates may apply)
        Use your mobile device to access Wells Fargo ATMs           √
        displaying the Contactless Symbol6 to perform the
        ATM transactions listed above (see “Using your
        card through a mobile device” for more details)
        Use an ATM access code to access Wells Fargo                √       √
        ATMs to perform the ATM transactions listed
        above (see “ATM Access Codes” for more details)
                                                                                Case ID: 210800043
   45    Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 72 of 97
       Debit cards and ATM cards
                                      At non-Wells Fargo ATMs7




                                                                                                                     Introduction
       Actions                                                    Debit      ATM        Business
                                                                  card       card      deposit card
       View your account balance (fees may apply)                    √         √
       Withdraw cash (fees may apply)                                √         √
       Transfer funds between accounts (fees may apply)              √         √




                                                                                                                 through arbitration
                                                                                                                 Resolving disputes
                                   Via electronic credit transfers
       Actions                                                    Debit      ATM        Business
                                                                  card       card      deposit card
       Receive transfers, such as those through card                 √
       networks or funds transfer systems8




                                                                                                                 Important legal
   1
       Purchases using an ATM card are only available at merchants who accept payments through




                                                                                                                   information
       networks in which we participate and require a PIN to authorize the purchase.
   2
       At an ATM the business deposit card and associated PIN can only be used only to make ATM
       deposits. The card can be issued to an authorized signer on the business accounts. It also can be
       issued to a non-authorized signer at the request of an authorized signer. When the card is used to
       make an ATM deposit, account balances are neither displayed on the ATM screen nor printed on
       the ATM receipt. The card PIN cannot be used for authentication for phone or online access.
   3
       Cash advance and ATM advance fees may apply. Refer to the applicable credit card account




                                                                                                                 error notifications
       agreement or line of credit account agreement for more details.




                                                                                                                  Statements and
   4
       Statements at ATMs should not be used in place of the account statement for balancing or
       verifying the actual account balance.
   5
       Business deposit cards are able to only receive printed receipts.
   6
       The Contactless Symbol and Contactless Indicator are trademarks owned by and used with the
       permission of EMVCo, LLC.
   7
       Non-Wells Fargo ATMs are part of ATM networks owned or operated by other financial
       institutions. You can use your card at non-Wells Fargo ATMs that display the Plus® logo to
       withdraw cash and check balances, and transfer funds between the accounts linked to your card

                                                                                                                 responsibilities
       as primary checking and primary savings. Note: 1) Some non-Wells Fargo ATMs may not give

                                                                                                                   Rights and
       you the option of choosing which account to access or may only let you access one of these
       two accounts. 2) Some transactions may not be available at all ATMs, may be different from
       those available at Wells Fargo ATMs, or may be limited to any withdrawal limit(s) set by the non-
       Wells Fargo ATM.
   8
        The following limitations apply to Visa Original Credit Transactions (“OCT”) and MasterCard
       MoneySend (“MoneySend”) money transfers to your Card:
       Visa - Person-to-person OCT
                                                                                                                 savings accounts




              Rolling 24 Hours                 Rolling 7-Day                  Rolling 30-Day
                                                                                                                   Checking and




             25 transactions or             100 transactions or             200 transactions or
                  $10,000                        $25,000                         $50,000
       Visa - Business-to-person OCT
              Rolling 24 Hours                 Rolling 7-Day                  Rolling 30-Day
             40 transactions or             100 transactions or             200 transactions or
                                                                                                                 banking services




                  $50,000                       $125,000                        $300,000
                                                                                                                    Electronic




       MasterCard - MoneySend (all types)
         1-Day (12 AM – 12 AM CT)        7-Day (12 AM – 12 AM CT)        30-Day (12 AM – 12 AM CT)
             25 transactions or             100 transactions or             200 transactions or
                  $10,000                        $10,000
                                                                                     Case ID: 210800043
                                                                                 $10,000

                                                                                                            46
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 73 of 97
        Debit cards and ATM cards
        ATM and merchant terminal malfunctions
        We are not responsible for damages resulting from an ATM or merchant terminal
        malfunction, except to the extent that malfunction results in an error (see “In case of
        errors or questions about your electronic fund transfers” for more details).
        Fees for use of card
        We will charge a fee for each non-Wells Fargo ATM transaction you perform (except
        if waived by the terms of your account). In addition, the non-Wells Fargo ATM owner/
        operator may also charge a fee (unless waived by the terms of your account). The non-
        Wells Fargo ATM owner/operator fee is included in the total transaction amount that is
        withdrawn from your account and will apply to your card’s daily ATM withdrawal limit.
        Transactions will also be limited to any withdrawal limits set by the non-Wells Fargo ATM.
        We will charge a fee if you make an over-the-counter (teller assisted) cash disbursement at
        a non-Wells Fargo bank that accepts Visa-branded cards. Some merchants may assess a fee
        when you use your card for a purchase or for cash back. The merchant fee will be included in
        the total purchase amount.
        Additional fees applicable to use of the card are provided in the Consumer Schedule or
        Business Schedule, as applicable.
        Daily limits and funds available for use with cards
        You may use your card subject to 1) your daily purchase limit and daily ATM withdrawal
        limit, and 2) your available balance in your account. The following rules apply:
        Limits on dollar amounts
        • Your card’s daily purchase limit is the maximum U.S. dollar amount of purchases
            (including cash back, if any) that can be authorized each day from your primary
            linked account, less merchant fees, if any. Note: If you use your Card or Card number
            to fund a digital wallet, brokerage, or other type of account, these Account Funding
            Transactions (AFTs) will count against your Card’s daily purchase limit (AFTs may
            also be limited by the applicable card network).
            - If your daily purchase limit is more than $99,999, you may ask that the merchant
              process multiple transactions to complete a purchase above this amount.
        • Your card’s daily ATM withdrawal limit is the maximum amount of cash you can
            withdraw each day from any combination of accessible accounts using your card, less
            any non-Wells Fargo ATM owner/operator fees, if applicable.
        • When you use a Wells Fargo ATM in Assisted-Service mode, your card’s daily ATM
            withdrawal limit may not apply.
        Limits for your card
        We provide you your daily ATM withdrawal and purchase limits when you receive your card.
        You can confirm your card’s daily limits by signing on to Wells Fargo Online, Wells Fargo
        Business Online, or the Wells Fargo Mobile® app, or calling us at the number listed in the
        “How to reach Wells Fargo” section. Note: For security reasons there may be additional
        limits on the amount, number, or type of transactions you can make using your card.
        Changes to your card limits
        We may, without telling you, increase your daily purchase or ATM withdrawal limit based
        on account history, activity, and other factors. If we decrease the limits of your card, we
        will notify you in accordance with applicable law.
        Definition
        For purposes of the daily limits only, a day is defined as the 24-hour period from
        midnight to midnight, Pacific Time. If a transaction is made in another time zone, it will
        be processed based on when we receive it (Pacific Time).
                                                                               Case ID: 210800043
   47    Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 74 of 97
    Debit cards and ATM cards
    Other limits




                                                                                                           Introduction
    There is generally no limit on the number of times the card may be used each day
    as long as the applicable daily ATM withdrawal limit and daily purchase limit are not
    exceeded and there is a sufficient available balance in any combination of your deposit
    accounts accessed for withdrawal.
    • If the ATM transaction or purchase would create an overdraft on the account, we
        may, in our sole discretion, take any of the actions described in the section of the
        Agreement titled “Available balance, posting order, and overdrafts.” The availability




                                                                                                       through arbitration
                                                                                                       Resolving disputes
        of deposits for withdrawal is described in the funds availability policy.
    • When we approve a transaction or purchase, we call that an authorization. We may
        limit the number of authorizations we allow during a period of time (e.g., if we notice
        out-of-pattern use of your card, or suspected fraudulent or unlawful activity). For
        security reasons, we cannot explain the details of the authorization system. If we do
        not authorize the payment, we may notify the person who attempted the payment
        that has been refused. We will not be responsible for failing to give an authorization.




                                                                                                       Important legal
                                                                                                         information
    Illegal transactions
    You must not use your card or account for any illegal purpose. You must not use your
    card or account to fund any account that is set up to facilitate internet gambling, except
    certain government (or state) owned lotteries and certain government-licensed online
    casinos and horse/dog racing. In our discretion, we may allow or deny transactions or
    authorizations from merchants who are apparently engaged in or who are identified as




                                                                                                       error notifications
                                                                                                        Statements and
    engaged in the internet gambling business.

    Using your card through a mobile device
    A mobile device means a smartphone, tablet, or any other hand-held or wearable
    communication device that allows you to electronically store or electronically present
    your debit card or debit card number (digital card number) and use that digital card
    number to make debit card transactions.

                                                                                                       responsibilities
    When you use your debit card with your mobile device for transactions:
    •   Availability may be affected by your mobile carrier’s coverage area, and your mobile             Rights and
        carrier may charge you message and data rates, or other fees.
    •   Your debit card information is sent across wireless and computer networks.
    •   Information about your mobile device may be transmitted to us.
    •   You should secure the mobile device the same as you would your cash, checks, credit
                                                                                                       savings accounts




        cards, and other valuable information. We encourage you to password protect or
                                                                                                         Checking and




        lock your mobile device to help prevent an unauthorized person from using it.
    •   Please notify us promptly if your mobile device containing your digital card number
        is lost or stolen.
    •   When you make a purchase or payment using your mobile device, the merchant will
        not provide an option for cash back.
    •   Some Wells Fargo ATMs within secure locations may require a physical card for entry.
                                                                                                       banking services




    •   You can access Wells Fargo ATMs that display the Contactless Symbol by holding your
                                                                                                          Electronic




        mobile device close to the Contactless Symbol.
    •   Each time you access a Wells Fargo ATM with your mobile device and card PIN, you can
        perform one monetary transaction (such as a cash withdrawal), or one non-monetary
        transaction (such as a balance inquiry) before your one monetary transaction.

                                                                              Case ID: 210800043
                                                                                                  48
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 75 of 97
        Debit cards and ATM cards
        •  If you are accessing a Wells Fargo ATM in Assisted-Service mode using your mobile
           device, your card’s daily ATM withdrawal limit will apply and you will not be able to
           access accounts that are not linked to your card.
        When you use your debit card with your mobile device for transactions, third parties,
        such as merchants, card association networks, mobile carriers, digital wallet operators,
        mobile device manufacturers, and software application providers may 1) use and
        receive your digital card number, and 2) receive information about your mobile device.
        If you have enrolled in Overdraft Protection and/or Debit Card Overdraft Service, those
        terms will apply to debit card transactions made through a mobile device. For additional
        information, please see the section on “Available balance, posting order, and overdrafts.”
        We may, at any time, partially or fully restrict your ability to make debit card
        transactions through a mobile device. If you want to remove your digital card number
        from your mobile device, please contact us using the information listed in the “How to
        reach Wells Fargo” section.

        ATM Access Codes
        Upon your request, we may provide you with a secure access code. This code (when
        used together with the PIN associated with your eligible card) allows you to access
        your accounts for certain transactions at Wells Fargo ATMs. Use of this code with
        the associated card PIN is equivalent to use of the card at a Wells Fargo ATM. Some
        Wells Fargo ATMs within secure locations may require a physical card for entry.
        We will display your code within our mobile app or send it to your mobile phone via text
        message if requested. Availability may be affected by your mobile carrier’s coverage
        area, and your mobile carrier may charge you message and data rates, or other fees. The
        length of time your code can be used will be provided with the code. Each access code
        is temporary and can be used only once. With each access code you enter at the ATM,
        you can perform one monetary transaction (such as a cash withdrawal), or one non-
        monetary transaction (such as a balance inquiry) before your one monetary transaction.
        Note: If you are accessing a Wells Fargo ATM in Assisted-Service mode using an ATM
        access code, your card’s daily ATM withdrawal limit will apply and you will not be able to
        access accounts that are not linked to your card.
        Your use of ATM access codes is subject to the following frequency limitations:
        • We will send you no more than four ATM access codes in a rolling 24-hour period,
           regardless of how many applicable cards you have or whether those ATM access
           codes are used. This limit will apply regardless of how you request or how we send
           the ATM access codes.
        • We will allow no more than four cash withdrawal transactions per card in a rolling
           30-day period using ATM access codes sent to your mobile phone via text message.
           This limit does not apply to cash withdrawal transactions using ATM access codes
           generated within our mobile app.
        Card on file with merchants
        If you give your debit card number to a merchant with authorization to bill it for recurring
        payments, or to keep it on file for future purchases or payments, the merchant may
        receive updated card information to process such payments, for example, if the merchant
        participates in the Visa Account Updater Service or a similar service. However, since not all
        merchants receive updated card information, we recommend you notify each merchant
        of your new debit card number and/or expiration date to ensure your payments continue
        uninterrupted. If you have a card on file with a merchant and want to cancel the payment
        arrangement, be sure to cancel it directly with the merchant.
                                                                                  Case ID: 210800043
   49       Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 76 of 97
    Debit cards and ATM cards
    Authorization holds for card transactions




                                                                                                           Introduction
    For all card purchase transactions, we may place a temporary hold on some or all of the
    funds in the account linked to your card when we obtain an authorization request. We
    refer to this temporary hold as an authorization hold. The funds subject to the hold will
    be subtracted from your available balance.
    We can place an authorization hold on your account for up to three business days
    (or for up to 30 business days at the Bank’s discretion for certain types of debit card




                                                                                                       through arbitration
                                                                                                       Resolving disputes
    transactions, including but not limited to, international car rental and hotel) from the
    time of the authorization or until the transaction is paid from your account. However, if
    the merchant does not submit the transaction for payment within the time allowed, we
    will release the authorization hold. This means your available balance will increase until
    the transaction is submitted for payment by the merchant and posted to your account.
    If this happens, we must honor the prior authorization and will pay the transaction from
    your account. In some situations, the amount of the hold may differ from the actual
    transaction amount since the merchant may not know the total amount you will spend.




                                                                                                       Important legal
    For example, a restaurant submits the authorization request for your meal before you




                                                                                                         information
    add a tip.
    Note: You might end up overdrawing the account even though the available balance
    appears to show there are sufficient funds to cover your transaction. For example, if a
    merchant does not submit a one-time debit card transaction for payment within three
    business days of authorization (or within 30 business days at the Bank’s discretion




                                                                                                       error notifications
    for certain types of debit card transactions, including but not limited to, international




                                                                                                        Statements and
    car rental and hotel), we must release the authorization hold on the transaction even
    though we will have to honor the transaction. The transaction will be paid from the
    funds in the account when we receive it for payment.
    You should record and track all of your transactions closely to confirm your available
    balance accurately reflects your spending of funds from the account linked to your card.

    Partial authorization for card transactions
    If a debit card or ATM card purchase amount exceeds the current available balance in               responsibilities
    the primary linked checking or savings account when you are making a purchase, you                   Rights and
    may be able to use your available balance to pay for a portion of the total purchase. The
    transaction will be subject to a partial authorization daily purchase limit set by the Bank
    and your card’s daily dollar limit.
    We will first try to approve the full amount of the purchase with the available funds in
    your checking account, account(s) linked for Overdraft Protection, and, if enrolled, using
                                                                                                       savings accounts
                                                                                                         Checking and




    Debit Card Overdraft Service. If we do not approve the full amount of the purchase,
    we may approve a portion of the purchase using the remaining available funds in your
    checking account.
    This is called a partial authorization. The remaining amount of the purchase total would
    need to be covered by another form of payment, such as cash or another card. If you are
    unable/unwilling to provide an additional form of payment, the partial authorization will
    be reversed by the merchant. Not all merchants are able to accept partial authorizations
                                                                                                       banking services




    or process transactions using multiple forms of payment.
                                                                                                          Electronic




    Transactions outside the United States
    If a card is used to make an ATM withdrawal or a purchase outside the United States,
    the network handling the transaction will convert the local currency amount of the
                                                                             Case ID: 210800043
    transaction to U.S. dollars (or, in the case of a purchase only, the merchant handling
    the transaction may convert the currency). If the network converts the currency, it will
                                                                                                  50
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 77 of 97
        Debit cards and ATM cards
        use either a rate selected by the network from the range of rates available in wholesale
        currency markets for the applicable central processing date, which rate may vary from
        the rate the network itself receives or the government-mandated rate in effect for the
        applicable central processing date. If the merchant handling the purchase converts the
        currency, the merchant will determine the currency conversion rate. For each purchase
        transaction completed outside the United States, we may also charge an international
        purchase transaction fee, which we base on the amount provided to us by the network
        (e.g., Visa, MasterCard) in U.S. dollars.

        Ending your card use
        Your card is our property. We may cancel your card at any time without notice to you.
        You may cancel your card at any time by writing to us at the address provided in your
        account statement. If the account is closed or the card is cancelled, you will immediately
        destroy the card(s) and, upon request, tell us in writing that the card(s) has been
        destroyed. If requested, you must immediately return the card(s) to us. If your card is
        cancelled, you must pay for any card transactions made before the card is cancelled.
        For the Wells Fargo Campus Card program, school issued campus cards are the property
        of the school. We may cancel your card banking access at any time without notice to
        you. You may cancel your banking access at any time by writing to us at the address
        provided in your account statement. If your banking access is cancelled, you must pay
        for any card transactions made before the banking access is cancelled.

        Helping protect your card
        Liability for unauthorized transactions according to Regulation E
        (card transactions from consumer accounts only)
        Tell us AT ONCE if you believe your card, card number, PIN, or code has been lost or
        stolen, or if you believe that an electronic fund transfer has been made without your
        permission using information from your check. Telephoning is the best way of keeping
        your possible losses down. You could lose all the money in your account (plus funds in
        any line of credit, savings account, or credit card linked to your account or as part of an
        Overdraft Protection plan). If you tell us within two business days after you learn of the
        loss or theft of your card, card number, PIN, or code, you can lose no more than $50 if
        someone used your credentials without your permission (however, see “Zero Liability
        protection (card transactions from consumer and business accounts only)” below).
        If you do NOT tell us within two business days after you learn of the loss or theft of your
        card, card number, PIN, or code, and we can prove we could have stopped someone from
        using your credentials without your permission if you had told us, you could lose up to
        $500 (however, see “Zero Liability protection (card transactions from consumer and
        business accounts only)” below).
        Also, if your account statement shows transfers that you did not make or authorize,
        including those made by your card, PIN, code, or other means, tell us at once. If you do
        not notify us within 60 days after the statement was mailed or was otherwise made
        available to you, you will be liable for any additional unauthorized transactions that
        occurred after the 60-day period and before you provided notice to us (if we can prove
        we could have stopped those transactions had you promptly notified us). This will apply
        even to unauthorized transactions that occur shortly before you notify us. If a good
        reason (such as a long trip or hospital stay) kept you from telling us, we will extend the
        time periods.

                                                                               Case ID: 210800043
   51    Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 78 of 97
    Debit cards and ATM cards
    Zero Liability protection (card transactions from consumer and business




                                                                                                           Introduction
    accounts only)
    For card transactions from consumer accounts only: Your card comes with Wells
    Fargo’s Zero Liability protection, which provides you with more coverage than what
    Regulation E requires for cards accessing consumer accounts (see “Liability for
    unauthorized transactions according to Regulation E (card transactions from consumer
    accounts only)” above).




                                                                                                       through arbitration
                                                                                                       Resolving disputes
    For card transactions from business accounts only: Your card comes with Wells Fargo’s
    Zero Liability protection.
    With Zero Liability protection, you will have no liability for any card transactions that
    you did not make or authorize, so long as those transactions occurred before the end of
    the 60-day period described below.
    If your account statement shows card transactions that you did not make or authorize,




                                                                                                       Important legal
    tell us at once. If you do not notify us within 60 days after the statement was mailed or




                                                                                                         information
    was otherwise made available to you, you will be liable for any additional unauthorized
    card transactions that occurred after the 60-day period and before you provided notice
    to us (if we can prove we could have stopped those card transactions had you promptly
    notified us). This will apply even to unauthorized card transactions that occur shortly
    before you notify us. If a good reason (such as a long trip or hospital stay) kept you from
    telling us, we will extend the time period.




                                                                                                       error notifications
                                                                                                        Statements and
                                                                                                       responsibilities
                                                                                                         Rights and
                                                                                                       savings accounts
                                                                                                         Checking and
                                                                                                       banking services
                                                                                                          Electronic




                                                                             Case ID: 210800043
                                                                                                  52
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 79 of 97
         Debit cards and ATM cards
        Additional information for Wells Fargo Campus Card Program
        customers
        Campus debit and campus ATM cards are available for students, faculty, and staff of
        colleges and universities (“schools”) that participate in the Wells Fargo Campus Card
        program. Campus debit cards can be identified by the Visa® logo on the front of the card;
        campus ATM cards do not include a Visa logo.
        Wells Fargo campus cards are available two ways: 1) Wells Fargo issued cards and 2)
        school issued cards. Your school determines which program you participate in.
        A Wells Fargo issued card is produced by Wells Fargo. Currently enrolled students, and
        currently employed faculty members or staff receive them by mail after requesting a
        card. A card may be requested by bringing a valid school ID to a Wells Fargo branch. It
        must be linked to an eligible new or existing deposit account to be used for purchases
        and ATM transactions and expires five years from the date it was issued. At that time, we
        will issue you a standard Wells Fargo Debit Card.
        A school issued card is produced by the school and given directly to currently enrolled
        students, and currently employed faculty members or staff, by the school. It can be
        linked to an eligible new or existing deposit account to be used for purchases and ATM
        transactions.
        School issued campus ATM cards can be linked to an eligible deposit account at any time
        for up to five years from the date it was issued. At five years, the card expires and can
        no longer be linked to a deposit account or used for purchases or ATM transactions. You
        can contact Wells Fargo and request a standard Wells Fargo Debit or ATM Card to use for
        purchases and ATM transactions.
        Both Wells Fargo and school issued campus cards are subject to daily dollar limits for
        purchases and ATM transactions. The first campus debit or campus ATM card you are
        issued will have the limits listed below. Replacement campus debit or campus ATM cards
        will have the same limits as the card it replaced at the time the replacement card is
        issued. You can confirm your limits by calling us at the number listed in the “How to reach
        Wells Fargo” section, or by viewing them in Wells Fargo Online.

                           Campus debit card limits
                           Your daily ATM withdrawal limit is             $310
                           Your daily purchase limit is                 $1,000
                           Campus ATM card limits
                           Your daily ATM withdrawal limit is             $310
                           Your daily purchase limit is                   $500
        To view the Campus Debit and ATM Card Terms and Conditions, please visit
        wellsfargo.com/debitcardterms (English) or wellsfargo.com/spanishdebitcardterms (Spanish).




                                                                              Case ID: 210800043
   53     Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 80 of 97
       Electronic fund transfer services
       (Consumer accounts only)




                                                                                                                 Introduction
       General rules for electronic fund transfer services
       We offer a variety of electronic fund transfer services you can use to access funds in
       your account(s) and perform other transactions detailed in this section. We describe
       some of these services in this section and also provide certain disclosures that apply to
       the use of electronic fund transfer services with your consumer account. Some of these
       services are governed by separate agreements we give to you at the time your card is




                                                                                                             through arbitration
       mailed or you sign up for the service (e.g., ATM and debit cards, Wells Fargo Online and




                                                                                                             Resolving disputes
       Mobile Banking).
       When you read this section, you will see references to Regulation E. This regulation
       applies to transactions you can perform using your card to access your account, such as
       purchases and ATM transactions. Regulation E also applies to other types of electronic
       fund transfers you can make from or to your account, such as payments made using Bill
       Pay and the direct deposit of your paycheck into your account. Regulation E sets forth the
       basic rights, liabilities, and responsibilities of consumers who use electronic fund transfers




                                                                                                             Important legal
                                                                                                               information
       and of the banks or other persons who offer these services. It includes the actions you
       need to take if you believe your card, your card number, or your Personal Identification
       Number (PIN) has been lost or stolen, or if you notice an error or unauthorized electronic
       fund transfer on your account and the rules regarding your potential liability for these
       transfers. Your responsibilities and protections under Regulation E are described in more
       detail in the “Electronic fund transfer disclosures” section.




                                                                                                             error notifications
       For unauthorized card transactions, in addition to the rights you have under Regulation




                                                                                                              Statements and
       E, Wells Fargo Zero Liability protection provides you with added protection from
       liability. For details, see the “Helping protect your card” section in the “Debit cards and
       ATM cards” part of this Agreement.
       The following table summarizes the types of transactions to which Regulation E applies
       and tells you if Zero Liability protection covers the transaction.

                                 Debit and ATM card transactions
                                                                                                             responsibilities
                                                                                                               Rights and
           Electronic fund                    Description                Transaction   Zero
              transfer                                                     covered   Liability
                                                                          by Reg E1 protection2
       Wells Fargo ATMs             View your account balances,                 √             √
                                    make deposits to or withdraw
                                    from your account, transfer
                                                                                                             savings accounts




                                    funds between your accounts,
                                                                                                               Checking and




                                    make payments to a linked
                                    credit account transfer funds
                                    from your eligible Wells Fargo
                                    credit accounts to your account,
                                    obtain a statement of the last
                                    10 transactions (fees may apply)
                                                                                                             banking services




       Non-Wells Fargo ATMs         Withdraw cash (fees may apply)              √             √
                                                                                                                Electronic




   1
       For details, see the “Electronic fund transfer disclosures” part of this Agreement.
   2
       For details, see the “Helping protect your card” section in the “Debit cards and ATM cards”
       part of this Agreement.
                                                                                    Case ID: 210800043
                                                                                                        54
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 81 of 97
            Electronic fund transfer services
            (Consumer accounts only)

                               Debit and ATM card transactions (continued)
                Electronic fund                     Description               Transaction   Zero
                   transfer                                                     covered   Liability
                                                                               by Reg E1 protection2
            Purchases at                  Purchase goods and services                √            √
            participating merchants       from merchants accepting
                                          payments through a network
                                          (e.g., Visa and MasterCard) in
                                          which we participate (fees may
                                          apply)
            Over-the counter              Withdraw cash through a teller             √            √
            (teller assisted) cash
            disbursements at a
            Wells Fargo location
            Over-the counter         Withdraw cash through a non-                    √            √
            (teller assisted) cash   Wells Fargo teller (fees may
            disbursements at a       apply)
            non-Wells Fargo location
            Bill payments                 Authorize one-time or recurring            √            √
                                          electronic payments from your
                                          account using information from
                                          your card

             Electronic transfers, payments, credits, and electronic check conversions
                Electronic fund                     Description               Transaction  Zero
            transfer services (EFT)                                           covered by Liability
                                                                                 Reg E1 protection2
            Transfers                     Send or receive transfers                  √
                                          between your accounts or to
                                          other recipients at Wells Fargo
                                          or other financial institutions
            Payments                      One-time or recurring payments             √
                                          from your account that you
                                          initiate or preauthorize for
                                          withdrawal from your account
            Credits                       Manual or automatic electronic             √
                                          deposits to your account, such
                                          as payroll or benefits payments




        1
            For details, see the “Electronic fund transfer disclosures” part of this Agreement.
        2
            For details, see the “Helping protect your card” section in the “Debit cards and ATM cards”
            part of this Agreement.
                                                                                     Case ID: 210800043
   55        Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 82 of 97
       Electronic fund transfer services
       (Consumer accounts only)




                                                                                                              Introduction
        Electronic transfers, payments, credits, and electronic check conversions
                                      (continued)
        Electronic fund                       Description                Transaction  Zero
    transfer services (EFT)                                              covered by Liability
                                                                            Reg E1 protection2
       Electronic check             Electronic fund transfer using              √




                                                                                                          through arbitration
                                                                                                          Resolving disputes
       conversions                  information from a check (e.g.,
                                    the Bank’s routing number and
                                    your account number)

                                     Phone Bank transactions
        Electronic fund                       Description                Transaction  Zero
    transfer services (EFT)                                              covered by Liability




                                                                                                          Important legal
                                                                            Reg E1 protection2




                                                                                                            information
       Phone Bank Transactions A request to the Phone Bank to
       (not under a written    make a transaction to and from
       agreement or plan)      your account
       Phone Bank Transactions The Phone Bank, under                            √
       (under a written        an agreement, can make




                                                                                                          error notifications
                                                                                                           Statements and
       agreement or plan)      transactions to and from your
                               account




                                                                                                          responsibilities
                                                                                                            Rights and
                                                                                                          savings accounts
                                                                                                            Checking and
                                                                                                          banking services
                                                                                                             Electronic




   1
       For details, see the “Electronic fund transfer disclosures” part of this Agreement.
   2
       For details, see the “Helping protect your card” section in the “Debit cards and ATM cards”
       part of this Agreement.
                                                                                    Case ID: 210800043
                                                                                                     56
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 83 of 97
        Electronic fund transfer disclosures
        (Consumer accounts only)
        The following provisions apply to electronic fund transfers to or from your consumer
        deposit account that are governed by Part A of Regulation E.
        Note: These provisions do not apply to remittance transfers (e.g., ExpressSend®
        and consumer-initiated international wire transfers). Remittance transfers you send
        through us are governed by a separate agreement you enter into when you sign up for
        the service or send the remittance transfer.

        Liability for unauthorized transactions according to Regulation E
        Tell us AT ONCE if you believe your card, card number, PIN, or code has been lost or
        stolen, or if you believe that an electronic fund transfer has been made without your
        permission using information from your check. Telephoning is the best way of keeping
        your possible losses down. You could lose all the money in your account (plus funds in
        any line of credit, savings account, or credit card linked to your account or as part of an
        Overdraft Protection plan).
        If you tell us within two business days after you learn of the loss or theft of your
        card, card number, PIN, or code, you can lose no more than $50 if someone used your
        credentials without your permission (however, see the “Helping protect your card”
        section in the “Debit card and ATM card” part of this Agreement).
        If you do NOT tell us within two business days after you learn of the loss or theft of your
        card, card number, PIN, or code, and we can prove we could have stopped someone from
        using your credentials without your permission if you had told us, you could lose up to
        $500 (however, see the “Helping protect your card” section in the “Debit card and ATM
        card” part of this Agreement).
        Also, if your account statement shows transfers that you did not make or authorize,
        including those made by your card, PIN, code, or other means, tell us at once. If you do
        not notify us within 60 days after the statement was mailed or was otherwise made
        available to you, you will be liable for any additional unauthorized transactions that
        occurred after the 60-day period and before you provided notice to us (if we can prove
        we could have stopped those transactions had you promptly notified us). This will apply
        even to unauthorized transactions that occur shortly before you notify us. If a good
        reason (such as a long trip or hospital stay) kept you from telling us, we will extend the
        time periods.

        Contact in the event of unauthorized transfer
        If you believe your card, card number, PIN, or code has been lost or stolen, call
        Wells Fargo Phone Bank at 1-800-869-3557 or the number listed on your statement,
        or write to us at Wells Fargo, Customer Correspondence, P.O. Box 6995, Portland, OR,
        97228-6995.
        You should also call the number or write to the address listed above if you believe
        a transfer has been made using the information from your check without your
        permission.

        Preauthorized credits to your account
        If you have arranged to have direct deposits made to your account at least once every
        60 days from the same person or company, you can check Wells Fargo Online or Mobile
        banking, enroll in account alerts, or call Wells Fargo Phone Bank at 1-800-869-3557 to
        find out whether or not the deposit has been made.

                                                                               Case ID: 210800043
   57    Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 84 of 97
    Electronic fund transfer disclosures
    (Consumer accounts only)




                                                                                                               Introduction
    Account statements
    Account statements are available as online statements or as paper statements sent by
    postal mail.
                You must be 13 years old or older to receive online statements.
    Checking accounts will get a monthly account statement. Savings accounts will
    generally get a quarterly account statement, but will get a monthly account statement




                                                                                                           through arbitration
                                                                                                           Resolving disputes
    if you do one of the following:
    • Set up automatic transfers into your savings account,
    • Have electronic fund transfer activity in the account, or
    • Have a combined statement for your checking and savings accounts.

    Handling preauthorized payments
    •   Right to stop payment: If you have told us in advance to make regular (recurring)




                                                                                                           Important legal
                                                                                                             information
        payments out of your account, you can stop any of these payments. Here’s how:
        Call Wells Fargo Phone Bank at 1-800-869-3557, or write to us at Wells Fargo,
        Customer Correspondence, P.O. Box 6995, Portland, OR, 97228-6995, in time for us
        to receive your request three business days or more before the payment is scheduled.
        If you call, we may also require you to put your request in writing and get it to us within
        14 days after you call. There is no fee to stop a recurring preauthorized payment using




                                                                                                           error notifications
                                                                                                            Statements and
        the debit card.
    •   Notice of varying amounts: If the amount of these regular (recurring) payments
        vary, the party you are going to pay should tell you 10 days before each payment,
        when it will be made and how much it will be. (The party you are going to pay may
        allow you to choose to get this notice only when the payment would differ by more
        than a certain amount from the previous payment, or when the amount would fall
        outside certain limits that you set.)
    •   Liability for failure to stop payment: If you order us to stop one of these payments
                                                                                                           responsibilities
                                                                                                             Rights and
        three business days or more before the transfer is scheduled, and we do not do so,
        we will pay for your losses or damages.
    Electronic check conversion
    You may authorize a merchant or other payee to make a one-time electronic payment from
    your account using information from your check to 1) pay for purchases, or 2) pay bills.
    Account inquiry
                                                                                                           savings accounts
                                                                                                             Checking and




    You have the right to contact us to find out whether an electronic transfer has been credited
    or debited to your account. Call Wells Fargo Bank at 1-800-869-3557, or write to us at
    Wells Fargo, Customer Correspondence, P.O. Box 6995, Portland, OR 97228-6995.
    Receipts
    You can get a receipt at the time you make any transfer to or from your account using one
    of our ATMs or when you use your card at a merchant terminal.
                                                                                                           banking services
                                                                                                              Electronic




                                                                                Case ID: 210800043
                                                                                                      58
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 85 of 97
        Electronic fund transfer disclosures
        (Consumer accounts only)
        Our liability for failure to make transfers
        If we do not complete a transfer to or from your account on time or in the correct
        amount according to our agreement with you, we will be liable for your losses or
        damages. However, there are some exceptions. For instance, we will not be liable if:
        • Through no fault of ours, you do not have enough money in your account to make
            the transfer,
        • The transfer would go over the credit limit on a credit account linked for Overdraft
            Protection,
        • The ATM where you are making the transfer does not have enough cash,
        • The terminal or system was not working properly and you knew about the
            breakdown when you started the transfer,
        • Circumstances beyond our control (such as fire or flood) prevent the transfer,
            despite reasonable precautions we have taken, or
        • There is some other exception stated in our Agreement with you.

        In case of errors or questions about your electronic fund transfers
        If you see an error or have questions about your electronic transfers, if you think your
        deposit statement or receipt is wrong, or if you need more information about a transfer
        listed on an account statement or receipt, call Wells Fargo Phone Bank at 1-800-869-
        3557 or the number listed on your account statement, or write to us at Wells Fargo,
        Customer Correspondence, P.O. Box 6995, Portland, OR, 97228-6995 as soon as you
        can. We must hear from you no later than 60 days after we send the FIRST account
        statement on which the problem or error appeared, and you should take the following
        actions:
        •    Tell us your name and account number (if any) and the dollar amount of the
             suspected error.
        •    Describe the error or the transfer you are unsure about, and explain as clearly as you
             can why you believe it is an error or why you need more information.
        If you tell us in person or by phone, we may require that you send us your complaint or
        question in writing within 10 business days.

        Investigations
        We will determine whether an error occurred within 10 business days after we hear
        from you and will correct any error promptly. If we need more time, however, we may
        take up to 45 days to investigate your complaint or question. If we need more time, we
        will credit your account within 10 business days for the amount you think is in error,
        so that you will have the use of the money during the time it takes us to complete our
        investigation. If we ask you to put your complaint or question in writing and we do not
        receive it within 10 business days, we may not credit your account.
        For errors involving new accounts, point-of-sale transactions, or foreign-initiated
        transactions, we may take up to 90 days to investigate your complaint or question.
        For new accounts, we may take up to 20 business days to credit your account for the
        amount you think is in error.
        We will tell you the results within three business days after completing our
        investigation. If we decide that there was no error, we will send you a written
        explanation. You may ask for copies of the documents that we used in our investigation.
                                                                               Case ID: 210800043
   59       Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 86 of 97
    Phone Bank Services
    How do we verify your identity when you call?




                                                                                                          Introduction
    If you have an assigned PIN for your debit or ATM card, or have a PIN issued only for
    authentication purposes with no associated debit or ATM card, we use your PIN to
    confirm your identity to allow you to use the automated phone bank system.
    If a PIN has not been assigned or if you do not use the automated phone bank system,
    we will ask for and use a variety of information to verify your identity.

    What transactions are authorized?




                                                                                                      through arbitration
                                                                                                      Resolving disputes
    You authorize us to comply with any request of a caller using Wells Fargo’s telephone
    banking services, including without limitation a request to transfer funds between or
    among your accounts, provided we authenticate the caller in compliance with one of the
    identity verification procedures described above.

    Are we allowed to cancel your PIN issued only for authentication
    purposes?




                                                                                                      Important legal
                                                                                                        information
    Yes, we may cancel your PIN issue only for authentication purposes at any time without
    notice. If you use a PIN that is not associated with a card, you must use it at least once
    every six months to ensure we do not cancel your PIN due to inactivity.

    How can you change your PIN?
    If you know your PIN associated with a debit or ATM card, you may use the automated




                                                                                                      error notifications
    phone system or ATM to change your PIN. If you know your PIN issued only for




                                                                                                       Statements and
    authentication purposes, you may use the automated phone system to change your
    PIN.
    If you do not know your PIN, you may change your PIN at a banking location or by calling
    us to request the mailing of a new randomly selected PIN.
    Consumer: Wells Fargo Phone Bank at 1-800-TO-WELLS (1-800-869-3557)
    Business: Wells Fargo National Business Banking Center at 1-800-CALL-WELLS
                                                                                                      responsibilities
    (1-800-225-5935)
                                                                                                        Rights and
                                                                                                      savings accounts
                                                                                                        Checking and
                                                                                                      banking services
                                                                                                         Electronic




                                                                            Case ID: 210800043
                                                                                                 60
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 87 of 97
        Funds transfer services
        The following provisions are in addition to, and not in place of, any other agreements you
        have with us regarding funds transfers. The following provisions apply to funds transfers to
        or from your account. The terms “funds transfer,” “funds transfer system,” “payment order,”
        and “beneficiary” are used here as defined in Article 4A of the Uniform Commercial Code -
        Funds Transfers, as adopted by the state whose laws govern your account. As used in these
        provisions, a funds transfer does not include a transaction made using a Wells Fargo issued
        card. Examples of covered funds transfers are a preauthorized automatic transaction (ACH)
        like your car or mortgage payment, and wire transfers.

        Rules of funds transfer systems
        Funds transfers to or from your account will be governed by the rules of any funds
        transfer system through which the transfers are made (“System Rules”), including
        Fedwire, the National Automated Clearing House Association, the Electronic Check
        Clearing House Organization, any regional association (each an ACH), the Clearing
        House Interbank Payments System (CHIPS), the Society for Worldwide Interbank
        Financial Telecommunication (“SWIFT”) and the RTP system (“RTP System”). We are
        under no obligation to honor, in whole or in part, any payment order or other instruction
        that could result in our contravention of applicable law, including, without limitation,
        requirements of the U.S. Department of the Treasury’s Office of Foreign Assets Control
        (“OFAC”) and the Financial Crimes Enforcement Network (“FinCEN”).

        Sending funds transfers/Means of transmission
        In acting upon transfer instructions received from you, we may use any means of
        transmission, funds transfer system, clearing house or intermediary bank that we
        reasonably select.

        Notice of funds transfers
        We will notify you of funds electronically debited from or credited to your account
        through the account statement for your account covering the period in which the
        transaction occurred. We are under no obligation to provide you with any additional
        notice or receipt.

        Reliance on identification numbers
        If an instruction or order to transfer funds describes the party to receive payment
        inconsistently by name and account number, we will rely on the beneficiary account
        number even if the account number identifies a party different from the named
        recipient. If an instruction or order to transfer funds describes a participating financial
        institution inconsistently by name and identification number, the identification number
        may be relied upon as the proper identification of the financial institution.

        Duty to report unauthorized or erroneous funds transfers
        You will exercise ordinary care to determine whether a funds transfer from your account was
        either not authorized or inaccurate, and you will notify us of the facts within a reasonable
        time not exceeding 14 days after you have received notice from us that the instruction or
        order was accepted or your account was debited or credited for the funds transfer, whichever
        is earlier. You must notify us within 14 days to be entitled to a refund from us. If you do not
        notify us within 14 days, we will be entitled to retain payment for the funds transfer.

        Erroneous payment orders
        We have no obligation to detect errors you make in payment orders (e.g., an instruction
                                                                                 Case ID: 210800043
   61    Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 88 of 97
    Funds transfer services
    to pay a beneficiary not intended by you or to pay an amount greater than the amount
    intended by you, or a transmission of a duplicate payment order previously sent by




                                                                                                             Introduction
    you). If we detect an error on one or more occasions, we will not be obligated to detect
    errors in any future payment order. We will rely on the beneficiary account number and
    beneficiary bank identification number (e.g., IBAN, RTN, or SWIFT BIC) you provide with
    an instruction or order. You could lose the funds if you provide incomplete or inaccurate
    information.

    ACH transactions




                                                                                                         through arbitration
                                                                                                         Resolving disputes
    In addition to the other terms in the Agreement, the following terms and conditions
    apply to payments to or from your account that you transmit through an ACH:
    •   Your rights as to payments to or from your account will be based on the laws
        governing your account.
    •   When we credit your account for an ACH payment, the payment is provisional until
        we receive final settlement through a Federal Reserve Bank or otherwise receive




                                                                                                         Important legal
        payment.




                                                                                                           information
    •   If we do not receive final settlement or payment, we are entitled to a refund from
        you for the amount credited to your account.
    •   You hereby authorize any Originating Depository Financial Institution (ODFI) to
        initiate, pursuant to ACH Operating Rules, ACH debit entries to your account for
        presentment or re-presentment of items written or authorized by you.




                                                                                                         error notifications
    Reversal or return of ACH transactions




                                                                                                          Statements and
    Consumer accounts only: You have the right to reverse any unauthorized ACH payment
    that was debited from your account. If you give us written notice that you want to
    reverse a payment, we will credit your account for the amount of the payment. You
    must notify us no later than 15 days after we send you, or otherwise make available to
    you, your account statement that reflects the payment you want to reverse. This right
    of reversal is in addition to your right to stop payment.
    Business accounts only: Under the ACH Rules, the Bank can return any non-consumer                    responsibilities
    ACH debit entry as unauthorized until midnight of the business day following the                       Rights and
    business day the Bank posts the entry to your account. In order for the Bank to meet
    this deadline, you are required to notify us to return any non-consumer ACH debit entry
    as unauthorized by the cutoff time we separately disclose. The cutoff time is currently
    3:00 PM Central Time. If you do not notify us in a timely manner of the unauthorized
    non-consumer ACH debit entry, we will not be able to return it without the cooperation
                                                                                                         savings accounts




    and agreement of the originating bank and the originator of the debit entry. Any other
                                                                                                           Checking and




    effort to recover the funds must occur solely between you and the originator of the
    entry.

    Stop payment orders on ACH debit entries
    An “ACH Debit Entry” is an item requesting the withdrawal of funds from your account
    through ACH. You may request a stop payment order for an ACH debit entry that has not
                                                                                                         banking services




    already been paid from your account sender/payee. To be effective, a stop payment order
    must be received in a time and manner that gives Bank a reasonable opportunity to act on
                                                                                                            Electronic




    the applicable ACH debit entry. If you provide oral instructions, we may require confirmation
    in writing. If such written confirmation is not received, we may remove the stop payment
    order after fourteen (14) days. An instruction to revoke a stop payment order must be
    received in a time and manner that gives us a reasonable opportunity to act on it.
                                                                              Case ID: 210800043
                                                                                                    62
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 89 of 97
        Funds transfer services
        To place a stop payment order on an ACH debit entry, you must provide the following
        information: (i) your account number (ii) amount of the ACH debit entry, (iii) effective
        date, and (iv) payee name. We may request additional information and may, at our
        sole discretion, use only a portion of the required information in order to identify the
        ACH debit entry. We may be able to place a stop payment order based on the company
        identification number of the sender/payee, but this may stop all ACH entries received
        from this sender/payee.

        Additional information on ACH debit entries
        Information you provided that is incorrect or subject to change (for example, if the sender
        changes its company identification number or individual identification number) may
        result in payment of the ACH debit entry. You acknowledge this risk and agree that you
        are responsible for notifying the sender of the ACH debit entry that your authorization
        has been revoked. You agree to indemnify and hold us harmless from and against any loss
        incurred by us as a result of our paying an ACH debit entry if any of the information relied
        upon in the stop payment order is incorrect or incomplete (or as a result of our not paying
        an ACH debit entry for which a valid stop payment order is in effect).

        Liability for transactions not covered by Regulation E
        For purchases and other transactions in consumer accounts not governed by Regulation
        E, you are liable for all losses relating to unauthorized funds transfers that do not result
        solely from our negligence or intentional misconduct, unless the laws governing your
        account require lesser liability.

        Receiving RTP® Payments
        The following additional terms apply to any real-time payments we receive for credit
        to your account through the RTP System. The terms “sender,” “receiver,” and “sending
        participant” are used here as defined in the system rules governing RTP payments
        (“RTP Rules”). In addition to the RTP Rules, RTP payments will be governed by the laws
        of the state of New York, including New York’s version of Article 4A of the Uniform
        Commercial Code, as applicable, without regard to its conflict of laws principles.
        •    The RTP System may be used only for eligible payments between a sender and
             receiver whose accounts are located in the United States. You may not send or
             receive payments on behalf of any person or entity not domiciled in the United
             States. RTP payments that are permitted under the RTP Rules and our requirements
             are considered eligible payments for purposes of this Agreement.
        •    RTP payments cannot be cancelled or amended by the sender. If we receive a
             message from a sending participant requesting return of an RTP payment received
             for credit to your account, we may notify you of that request. You are not obligated
             under the RTP Rules to comply with any such request for return of funds. Any
             dispute between you and the sender of an RTP payment should be resolved between
             you and the sender.
        •    If you do not wish to accept an RTP credit received to your account, you may request
             that we return such payment to the sender. We may, at our sole discretion, attempt
             to honor such request but will have no liability for our failure to do so.
        •    RTP payments are typically completed within thirty (30) seconds of transmission of
             the RTP payment by the sender, unless the RTP payment fails or is delayed due to a
             review by us or the sending participant, such as for fraud, regulatory, or compliance
             purposes. Transaction limits imposed by the RTP System or sending participant may
             also prevent RTP payments from being sent to your account.
                                                                               Case ID: 210800043
   63       Deposit Account Agreement – Effective November 9, 2020
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 90 of 97
    Funds transfer services
    We are under no obligation to honor, in whole or in part, any payment order or other
    instruction that could result in our contravention of applicable law, including, without




                                                                                                        Introduction
    limitation, requirements of the U.S. Department of the Treasury’s Office of Foreign
    Assets Control (“OFAC”) and the Financial Crimes Enforcement Network (“FinCEN”).




                                                                                                    through arbitration
                                                                                                    Resolving disputes
                                                                                                    Important legal
                                                                                                      information
                                                                                                    error notifications
                                                                                                     Statements and
                                                                                                    responsibilities
                                                                                                      Rights and
                                                                                                    savings accounts
                                                                                                      Checking and
                                                                                                    banking services
                                                                                                       Electronic




                                                                             Case ID: 210800043
                                                                                               64
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 91 of 97
      How to reach Wells Fargo
      Wells Fargo accepts Telecommunications Relay Services calls.
      Wells Fargo Online®                         Visit wellsfargo.com
                                                  or call 1-800-956-4442
      Wells Fargo Business Online®                Visit wellsfargo.com/biz
                                                  or call 1-800-956-4442
      Wells Fargo Phone Bank                      1-800-TO-WELLS
                                                  (1-800-869-3557)
       Spanish-speaking customers                 1-877-PARA-WFB
                                                  (1-877-727-2932)
       TTY/TDD for deaf and                       1-800-877-4833
       hard-of-hearing customers
      National Business Banking Center            1-800-CALL-WELLS
                                                  (1-800-225-5935)
       Spanish-speaking customers                 1-877-337-7454
       TTY/TDD for deaf and                       1-800-877-4833
       hard-of-hearing customers
      Wells Fargo Mobile®                         Visit
                                                  Consumer: wellsfargo.com
                                                  Business: wellsfargo.com/biz/mobile/
                                                  or call 1-866-863-6762
      Portfolio by Wells Fargo® customers         1-800-742-4932
                                                  1-800-600-4833 (TTY/TDD for deaf
                                                  and hard-of-hearing customers)
      IRA and ESA customers                       1-800-BEST-IRA
                                                  (1-800-237-8472)
      Customers outside the U.S.                  Visit wellsfargo.com/help/
                                                  international-access-codes to view a
                                                  list of our International Access Codes.

     For all other accounts, please refer to your statement for contact information.




     This Agreement governs deposit accounts maintained at Wells Fargo Bank, N.A.
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     Member FDIC.
     CCB2018 (11/20)
                                                                         Case ID: 210800043
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 92 of 97




                  Exhibit “B”




                                                              Case ID: 210800043
                                                          Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 93 of 97
                                                                                              Sign On Customer Service                       ATMs/Locations        Español       Search



Personal               Small Business                 Commercial                                                                    Financial Education                 About Wells Fargo

Banking and Credit Cards               Loans and Credit            Investing and Retirement               Wealth Management               Rewards and Benefits




Online Security Guarantee                                                                                                                                    Print     Share


If you follow the requirements set forth in the Your Responsibilities section below, we guarantee that you will be reimbursed for 100% of funds removed
from your Wells Fargo accounts in the unlikely event that someone you haven’t authorized fraudulently removes those funds through our eligible Online
Services.


Online Services
Online Services means any Wells Fargo Online® or Wells Fargo Business Online® services you use to initiate consumer, business, or brokerage monetary
transactions (including trading losses incurred through unauthorized access and activity): (1) online at wellsfargo.com or wellsfargoadvisors.com, or (2) on
your mobile device, via text at our 93557 short code, or via one of our Wells Fargo Mobile® downloadable applications.


Your Responsibilities
To qualify for the protections provided by the Online Security Guarantee, you must:

   Never disclose your personal account information to others (including, but not limited to, your Personal Identification Number (PIN), online username,
   password, one time passcodes, RSA SecurID® token, or any other security credential you may use to access your accounts);
      Note: If your device allows access to anyone other than you via fingerprint, that person will also be able to access your Wells Fargo Mobile downloadable
      applications on the same device when Touch ID® or fingerprint is enabled, and their transactions will be considered authorized.

   Report any suspected incidents of unauthorized account access or fraud to us within 60 calendar days after the date we send you the account statement
   showing the suspected unauthorized activity; and

   Fully cooperate with our claims representatives and comply with our requests and procedures during the processing of your claim.


Exclusions
The Online Security Guarantee does not apply to:

   Mobile deposit

   Transactions made through the Commercial Electronic Office® (CEO®) portal or CEO® Mobile

   Transactions made through Wells Fargo Retail Services’ Merchant Online Resource Center

   The Wells Fargo Retirement Plan Website, where the loss:
      Is the fault of your employer or a third-party authorized by your employer (other than Wells Fargo);


       OR

       You entered the Wells Fargo Retirement Plan Website with credentials (user name and password) created on your employer’s own privately maintained
       portal referred to as delegated authentication.


       Please see https://www.wellsfargo.com/retirement-plan/privacy-security for more information.


Please see the Online Access Agreement and your account agreement for information about your rights and responsibilities related to reporting errors or
unauthorized transactions.


Online Security is a Collective Responsibility
To learn more about steps you should take to help protect your accounts and personal information, review our Fraud Prevention Tips.

To help recognize common fraudulent tactics used to obtain your information, visit Wells Fargo’s Security Center.


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Wallet is a trademark of Apple Inc. App Store is a service mark of Apple Inc.

RSA SecurID is a registered trademark of RSA Security LLC.

LRC-0920




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                                                                                                                                                                                                    Case ID: 210800043
Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 94 of 97



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                                                Office of Judicial Records
                                                    18 AUG 2021 12:33 pm
                                                          M. RUSSO




                                                              Case ID: 210800043
        Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 95 of 97




WOMBLE BOND DICKINSON (US) LLP                                            Filed and Attested by the
Kevin J. Mangan (PA Bar. No. 56507)                                      Office of Judicial Records
1313 North Market Street, Suite 1200                                         27 AUG 2021 10:56 am
Wilmington, Delaware 19801                                                        A. STAMATO
Telephone: (302) 252-4320
Kevin.mangan@wbd-us.com

Attorneys for Wells Fargo & Company

                                                     )
 MARY LINDA LIVINGSTON,                              )
                                                     )      COURT OF COMMON PLEAS
               Plaintiff,                            )     FOR PHILADELPHIA COUNTY
                                                     )
                                                     )
       v.                                            )               Case No. 210800043
                                                     )
 WELLS FARGO & COMPANY,                              )
                                                     )
               Defendant.                            )
                                                     )

                                  ENTRY OF APPEARANCE

To the Office of Judicial Records:
       Kindly enter the appearance of Kevin J. Mangan of Womble Bond Dickinson (US) LLP in

the above-captioned matter as counsel of record for Defendant, Wells Fargo & Company (“WFC”).

       By filing this Entry of Appearance, WFC does not waive, and expressly reserves, any and

all defenses available to WFC, including but not limited to defenses related to insufficient service

of process, lack of subject matter jurisdiction or improper venue.




                                                 1
                                                                                           Case ID: 210800043
       Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 96 of 97




                                          WOMBLE BOND DICKINSON (US) LLP

                                          /s/ Kevin J. Mangan
                                          Kevin J. Mangan (PA Bar. No. 56507)
                                          1313 North Market Street, Suite 1200
                                          Wilmington, Delaware 19801
                                          Telephone: (302) 252-4320
                                          kevin.mangan@wbd-us.com

Date: August 27, 2021                     Attorneys for Wells Fargo & Company




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                                                                                 Case ID: 210800043
        Case 2:21-cv-03866-WB Document 1-1 Filed 08/30/21 Page 97 of 97




WOMBLE BOND DICKINSON (US) LLP
Kevin J. Mangan (PA Bar. No. 56507)
1313 North Market Street, Suite 1200
Wilmington, Delaware 19801
Telephone: (302) 252-4320
Kevin.mangan@wbd-us.com

Attorneys for Wells Fargo & Company

                                                 )
 MARY LINDA LIVINGSTON,                          )
                                                 )       COURT OF COMMON PLEAS
              Plaintiff,                         )      FOR PHILADELPHIA COUNTY
                                                 )
                                                 )
       v.                                        )              Case No. 210800043
                                                 )
 WELLS FARGO & COMPANY,                          )
                                                 )
              Defendant.                         )
                                                 )

                               CERTIFICATE OF SERVICE

       I, Kevin J Mangan, certify that on August 27, 2021, I caused the foregoing Entry of

Appearance to be filed via the Court’s FJD E-Filing System where it is available for viewing and

downloading. Service of the foregoing document was made electronically by the Court’s FJD E-

Filing System to all counsel of record.

                                                 WOMBLE BOND DICKINSON (US) LLP

                                                 /s/ Kevin J. Mangan
                                                 Kevin J. Mangan (PA Bar. No. 56507)
                                                 1313 North Market Street, Suite 1200
                                                 Wilmington, Delaware 19801
                                                 Telephone: (302) 252-4320
                                                 kevin.mangan@wbd-us.com

Date: August 27, 2021                            Attorneys for Wells Fargo & Company




                                                                                        Case ID: 210800043
